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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

  NETWORK SYSTEM TECHNOLOGIES, LLC,                    )
                                                       )
                                 Plaintiff,            )
                                                       )
                 v.                                    )   Civil Action No. 2:22-cv-482-RWS
                                                       )
  TEXAS INSTRUMENTS INCORPORATED                       )   JURY TRIAL DEMANDED
  and FORD MOTOR COMPANY,                              )
                                                       )
                                 Defendants.           )
                                                       )

       DEFENDANT TEXAS INSTRUMENTS INCORPORATED’S ANSWER AND
      COUNTERCLAIMS TO PLAINTIFF’S FIRST AMENDED COMPLAINT FOR
                        PATENT INFRINGEMENT


        Defendant Texas Instruments Incorporated (“Defendant” or “TI”) submits its answer,

 defenses, and counterclaims to Plaintiff Network System Technologies, LLC’s (“Plaintiff” or

 “NST”) First Amended Complaint. The answers herein are based on a reasonable investigation to

 date. TI reserves the right to amend its answer if it subsequently gains additional information.

        TI’s reproduction below of the headings and paragraphs set forth in the Complaint is solely

 for the purpose of convenience and is not, and should not be construed as, an admission by TI that

 any allegation or other statements in the headings or the paragraphs of the Complaint, whether

 explicit or implied, are true, correct, or admitted by TI. All allegations in NST’s Complaint,

 including those in the headings, that TI does not expressly admit or deny in this Answer are

 specifically denied by TI.

                                   NATURE OF THE ACTION

        1.      This is a civil action for patent infringement under the patent laws of the United

 States, Title 35, United States Code, Section 271, et seq., involving the follow United States


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 Patents (collectively, “Asserted Patents”) and seeking damages and injunctive relief as provided

 in 35 U.S.C. §§ 281 and 283-285.

                         U.S. Patent No. 7,366,818 (Exhibit 1, “’818 patent”)1
                         U.S. Patent No. 7,373,449 (Exhibit 2, “’449 patent”)
                         U.S. Patent No. 7,594,052 (Exhibit 3, “’052 patent”)
                         U.S. Patent No. 7,769,893 (Exhibit 4, “’9893 patent”)
                         U.S. Patent No. 8,072,893 (Exhibit 5, “’2893 patent”)
                         U.S. Patent No. 8,086,800 (Exhibit 6, “’800 patent”)

           TI’s Response:      TI admits that the Complaint purports to be an action for patent

 infringement arising under Title 35 of the United States Code, involving U.S. Patent Nos.

 7,366,818, 7,373,449, 7,594,052, 7,769,893, 8,072,893, and 8,086,800. TI denies all allegations

 of patent infringement in this District or elsewhere and denies that NST is entitled to any relief.

                                              THE PARTIES

           2.     Plaintiff is a limited liability company formed under the laws of Delaware, with a

 principal place of business at 533 Congress Street, Portland, ME 04101. Plaintiff is the owner by

 assignment of the Asserted Patents.

           TI’s Response: TI lacks sufficient knowledge and information to admit or deny the

 allegations contained in this paragraph and therefore denies them.

            3.    On information and belief, Texas Instruments Incorporated (“TI”) is a corporation

     organized and existing under the laws of Delaware, having a principal place of business at 12500

     TI Boulevard, Dallas, Texas 75243. On information and belief, TI has business locations in this

     Judicial District at 6412 U.S. Highway 75, Sherman, Texas 75090; 300 W. Renner Road,

     Richardson, Texas 75080; and 2501 S. State Highway 121 Bus., Lewisville, Texas 75067. 2


 1
  NST references and incorporates Exhibits 1-18 attached to NST’s December 19, 2022
 Complaint. (Dkt. 1.)

 2
   See Defendant Texas Instruments Incorporated’s Answer and Counterclaims to Plaintiff’s Complaint for Patent
 Infringement, MIMO Research, LLC v. Texas Instruments Incorporated, 5:22-cv-00083, Dkt. No. 9 at 3-4 (E.D. Tex.


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  Further, on information and belief, TI is building new semiconductor wafer fabrication plants

  in this Judicial District in Sherman, Texas, an investment which could reach $30 billion and

  create 3,000 jobs.3 TI has been served and has answered herein.

         TI’s Response: Admitted.

         4.       On information and belief, Ford Motor Company (“Ford”) is a corporation

 organized and existing under the laws of Delaware, having a principal place of business at 1

 American Road, Dearborn, Michigan 48126. On information and belief, Ford has a business

 location in this Judicial District at 5700 Granite Parkway, Suite 1000, Plano, Texas 75024. 4 Ford

 describes this office as “its Central Market Area Office” and “the principal office of Ford in the

 State of Texas,” where “the decision makers for [Ford] within this state conduct the daily affairs

 of the organization.” Ford Motor Co. v. Johnson, 473 S.W.3d 925, 927 (Tex. App. 2015). Ford

 has been served and has answered herein.

         TI’s Response: TI lacks sufficient knowledge and information to admit or deny the

 allegations contained in this paragraph and therefore denies them.

         5.       On information and belief, the Defendants are engaged in making, using, offering

 for sale, selling, importing, or otherwise providing, within the United States and in particular the

 State of Texas and this Judicial District, directly or indirectly, system-on-a-chip products (“SoCs”)

 and/or products containing SoCs with features and functionalities that infringe the Asserted

 Patents.

         TI’s Response: Denied.




 Sept. 6, 2022).
 3
   https://www.ti.com/about-ti/company/ti-at-a-glance/manufacturing/sherman.html (last visited December 19, 2022);
 https://news.ti.com/texas-instruments-breaks-ground-on-new-300-mm-semiconductor-wafer-fabrication-plants-in-
 sherman-texas (last visited December 19, 2022).
 4
   https://www.granitepark.com/directory (last visited December 19, 2022).


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                                   JURISDICTION AND VENUE

           6.     This Court has jurisdiction over the subject matter of this action pursuant to 28

 U.S.C. §§ 1331 and 1338(a).

           TI’s Response: TI states that the question of subject matter jurisdiction is a conclusion of

 law, rather than a statement of fact, to which no response is required. To the extent a response is

 required, TI does not contest that this Court has original subject matter jurisdiction over patent

 disputes arising under the patent laws of the United States. TI denies all allegations of patent

 infringement in this District or elsewhere.

           7.     Each Defendant is subject to this Court’s personal jurisdiction consistent with the

 principles of due process and the Texas Long Arm Statute. Tex. Civ. Prac. & Rem. Code §§ 17.041,

 et seq.

           TI’s Response: With respect to TI, TI does not contest that this Court has personal

 jurisdiction. TI denies all allegations of patent infringement in this District or elsewhere.

           8.     Jurisdiction and venue for this action are proper in this Judicial District.

           TI’s Response: With respect to TI, TI does not contest that jurisdiction and venue are

 proper in this District. TI denies all allegations of patent infringement in this District or elsewhere.

           9.     This Court has personal jurisdiction over Defendants at least because, through a

 respective Defendant’s own acts and/or through the acts of each other Defendant acting as its agent,

 representative, or alter ego, they (i) have a presence or regular and established place of business in

 the State of Texas and this Judicial District; (ii) have purposefully availed themselves of the rights

 and benefits of the laws of the State of Texas and this Judicial District; (iii) have done and are

 doing substantial business in the State of Texas and this Judicial District, directly or through

 intermediaries, both generally and, on information and belief, with respect to the allegations in this




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 Complaint, including their one or more acts of infringement in the State of Texas and this Judicial

 District; (iv) maintain continuous and systematic contacts in the State of Texas and this Judicial

 District; and/or (v) place products alleged to be infringing in this Complaint in the stream of

 commerce, directly or through intermediaries, with awareness that those products are likely

 destined for use, offer for sale, sale, and/or importation in the State of Texas and this Judicial

 District.

         TI’s Response: Plaintiff’s statements about personal jurisdiction reflect conclusions of

 law, rather than statements of fact, to which no response is required. To the extent a response is

 required, TI does not contest that this Court has personal jurisdiction. TI denies all allegations of

 patent infringement in this District or elsewhere.

         10.    For example, Defendants have authorized retailers and distributors in the State of

 Texas and this Judicial District for the products alleged to be infringing in this Complaint, and

 Defendants have derived substantial revenues from their infringing acts occurring within the State

 of Texas and this Judicial District.

         TI’s Response: TI admits that it offers for sale, and/or sells its products and services in

 the State of Texas and this District. TI denies all allegations of patent infringement in this District

 or elsewhere. TI denies any remaining allegations contained in this paragraph.

         11.    Defendants have established sufficient minimum contacts with the State of Texas

 and this Judicial District such that they should reasonably and fairly anticipate being brought into

 court in the State of Texas and this Judicial District without offending traditional notions of fair

 play and substantial justice; and Defendants have purposefully directed activities at residents of

 the State of Texas and this Judicial District. Moreover, the patent infringement claims alleged

 herein arise out of or are related to one or more of the foregoing activities. On information and




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 belief, a substantial part of the events giving rise to Plaintiff’s claims, including acts of patent

 infringement, have occurred in the State of Texas and this Judicial District.

        TI’s Response:       Plaintiff’s statements about sufficient minimum contacts reflect

 conclusions of law, rather than statements of fact, to which no response is required. To the extent

 a response is required, TI does not contest that this Court has personal jurisdiction. TI denies all

 allegations of patent infringement in this District or elsewhere. TI denies that any of TI’s contacts

 with Texas, business conducted by TI in Texas or elsewhere, or other activity performed by TI in

 Texas or elsewhere gives rise to Plaintiff’s causes of action for patent infringement. TI denies that

 any of the activities alleged by Plaintiff constitute patent infringement if performed by TI in Texas

 or elsewhere. TI denies all remaining allegations contained in this paragraph.

        12.     Venue is proper in this Judicial District as to Defendants under 28 U.S.C. §§

 1391(b) and (c) and 1400(b).

        TI’s Response: With respect to TI, TI does not contest that venue is proper in this District.

 TI denies all allegations of patent infringement in this District or elsewhere.

        13.     Venue is proper as to TI and Ford because, on information and belief, they have

 committed acts of infringement and each have a regular and established place of business in this

 Judicial District, as identified above in paragraphs 3 and 4. 28 U.S.C. § 1400(b).

        TI’s Response: The question of a regular and established place of business is a conclusion

 of law, rather than a statement of fact, to which no response is required. To the extent a response

 is required, TI does not contest that venue is proper in this District. TI denies all allegations of

 patent infringement in this District or elsewhere.

                                             JOINDER




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        14.     Joinder is proper under at least Federal Rule of Civil Procedure 20 and 35 U.S.C. §

 299 at least because Defendants’ infringing conduct alleged herein arises out of the same

 transaction, occurrence, or series of transactions or occurrences relating to the making, using,

 importing into the United States, offering for sale, or selling of the same accused product or

 process, and questions of fact common to all Defendants will arise in this action.

        TI’s Response: The question of joinder is a conclusion of law, rather than a statement of

 fact, to which no response is required. Moreover, TI is the sole remaining defendant in this case

 as the Court has severed Plaintiff’s claims against Ford. Accordingly, TI denies as moot the

 allegations in this paragraph and denies all allegations of patent infringement in this District or

 elsewhere

        15.     On information and belief, the accused products are either the accused TI SoCs (as

 in the case of TI) or products containing the accused TI SoCs (as in the case of the remaining

 Defendants), and thus the TI SoCs are common to all Defendants’ infringement of the Asserted

 Patents. On information and belief, all Defendants infringe the Asserted Patents by, for example,

 making, using, importing, offering for sale, and selling TI SoCs, whether alone or integrated into

 other products. Stated differently, on information and belief, each of the Defendants’ accused

 products infringes the same Asserted Patents by using TI SoCs—meaning that all accused products

 use identically sourced components and that there is overlap of the accused products’ and

 processes’ development and manufacture. Thus, on information and belief, common SoC

 technology is a defining characteristic for each of the Defendant’s infringement, and the factual

 question of infringement will substantially overlap for all Defendants.

        TI’s Response: The question of joinder is a conclusion of law, rather than a statement of

 fact, to which no response is required. Moreover, TI is the sole remaining defendant in this case




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 as the Court has severed Plaintiff’s claims against Ford. Accordingly, TI denies as moot the

 allegations in this paragraph and denies all allegations of patent infringement in this District or

 elsewhere.

         16.     Further, on information and belief, Ford purchases or otherwise obtains the TI SoCs

 from TI, and there are licensing or technology agreements between TI and Ford.

         TI’s Response: TI admits that it sells SoCs that are used by Ford. TI lacks sufficient

 knowledge or information to admit or deny the remaining allegations in this paragraph, e.g., an

 identification of the agreements referenced in this paragraph, and therefore denies those

 allegations.

                                    THE ASSERTED PATENTS

         17.     The Asserted Patents result from extensive research and development by Philips

 Semiconductors, a subsidiary of Koninklijke Philips N.V. (“Philips”) that included VLSI

 Technology, Inc., which Philips acquired in 1999. Prior to being spun off in 2006 as NXP

 Semiconductors N.V. (“NXP”), Philips Semiconductors was one of the largest semiconductor

 companies in the world. Each of the Asserted Patents predate the NXP spin-off and were retained

 by Philips until all right, title, and interest in the Asserted Patents were transferred to Plaintiff.

         TI’s Response: TI lacks sufficient knowledge and information to admit or deny the

 allegations contained in this paragraph and therefore denies them.

                                       U.S. Patent No. 7,366,818

         18.     Plaintiff is the lawful owner of all right, title, and interest in United States Patent

 No. 7,366,818 (“’818 patent”), entitled “INTEGRATED CIRCUIT COMPRISING A

 PLURALITY OF PROCESSING MODULES AND A NETWORK AND METHOD FOR

 EXCHANGING DATA USING SAME,” including the right to sue and to recover for infringement




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 thereof. The ’818 patent was duly and legally issued on April 29, 2008, naming Andrei Radulescu

 and Kees Gerard Willem Goossens as inventors. A copy of the ʼ818 patent was attached to NST’s

 December 19, 2022 Complaint (Dkt. 1) as Exhibit 1.

         TI’s Response: TI admits that the face of the ’818 Patent is titled “Integrated Circuit

 Comprising A Plurality Of Processing Modules And A Network And Method For Exchanging

 Data Using Same,” lists an issue date of April 29, 2008, lists Andrei Radulescu and Kees Gerard

 Willem Goossens as inventors and that a copy of what purports to be the ’818 Patent is attached

 as Exhibit 1. TI lacks sufficient knowledge and information to admit or deny the remaining

 allegations contained in this paragraph and therefore denies them.

         19.      The ’818 patent has 7 claims: 1 independent claim and 6 dependent claims.

         TI’s Response: To the extent this paragraph sets forth conclusions of law, no response is

 required. To the extent a response is required, TI admits.

         20.      The ’818 patent covers SoCs that have an interface that comprises a dropping means

 for dropping data exchanged by two modules and where the interface can control the dropping of

 data and therefore completion of message transactions.

         TI’s Response: This paragraph purports to summarize the subject matter or claims of the

 ’818 patent, which speak for themselves. The paragraph therefore presents a conclusion of law to

 which no response is required. To the extent a response is required, TI lacks sufficient knowledge

 or information to admit or deny the allegations contained in this paragraph and, therefore, denies

 them.

         21.      The claims of the ʼ818 patent, including claim 1 (reproduced below), recite at least

 these inventive concepts of the ’818 patent.

               1. Integrated circuit comprising a plurality of processing modules (M, S) said
               modules being disposed on the same chip, and a network (N; RN) arranged for
               providing at least one connection between a first and at least one second module


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               (M, S),

               wherein said modules communicate via a network on chip, and

               wherein said connection supports transactions comprising outgoing messages
               from the first module to the second modules and return messages from the
               second modules to the first module, the integrated circuit comprising at least
               one dropping means (DM) for dropping data exchanged by said first and second
               module (M, S), and

               at least one interface means (ANIP, PNIP) for managing the interface between
               a module (M, S) and the network (N, RN),

               wherein said interface means (ANIP, PNIP) comprises a first dropping means
               (DM) for dropping data, and

               wherein the dropping of data and therefore the transaction completion can be
               controlled by the interface means.

  (Dkt. 1-1, ’818 patent at claim 1.) The subject matter described and claimed by the ’818 patent,

  including the integrated circuit of claim 1, was an improvement in the functionality, performance,

  and efficiency of integrated circuits and the connections and communication networks thereof and

  was novel and not well-understood, routine, or conventional at the time of the ’818 patent.

         TI’s Response: This paragraph purports to summarize claim 1 of the ’818 patent, which

  speaks for itself, or otherwise sets forth conclusions of law, to which no response is required. To

  the extent a response is required, TI denies the novelty and non-obviousness of the claimed

  invention and denies all remaining factual allegations contained in this paragraph.


         22.      Defendants had knowledge of the ’818 patent at least as of the December 19,

  2022 filing of NST’s Complaint. (Dkt. 1).

         TI’s Response: To the extent this paragraph sets forth conclusions of law, no response is

  required. To the extent a response is required, TI admits the ’818 Patent was listed in the

  Complaint served in this case. TI denies all remaining allegations contained in this paragraph.

         23.      The ’818 patent was developed and patented by Philips Semiconductors, one of the


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  largest semiconductor companies in the world. Because of the size and prominence of Philips in

  the tight-knit semiconductor industry, industry participants, including, on information and belief,

  Defendants, monitored patenting activity by Philips and reviewed, and were aware of shortly after

  their publication, at least the U.S. published patent applications and patents obtained by Philips in

  the semiconductor space, including the ’818 patent. On information and belief, such industry

  participants, including Defendants, considered Philips’ U.S. published patent applications and

  patents in the semiconductor space, including the ’818 patent, and such Philips U.S. published

  patent applications and patents’ actual or potential applicability to their own current products and

  product roadmaps, including the products described herein.

            TI’s Response: TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

            24.      The ’818 patent is widely and publicly known, and frequently referenced, in the

  tight-knit semiconductor industry, having been cited during prosecution of approximately 76

  patent applications assigned to industry leaders such as Intel Corporation, Arm Limited, NEC

  Corporation, IBM Corporation, and others. 5

            TI’s Response: TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

            25.      On information and belief, Defendants sought to make themselves aware of

  competitors’ patents in the semiconductor space as they developed their products and product

  roadmaps, including the products described herein.

            TI’s Response: TI respects the intellectual property rights of others. TI lacks sufficient

  knowledge or information to admit or deny the remaining allegations contained in this paragraph



  5
      https://patents.google.com/patent/US7366818B2/en?oq=7%2c366%2c818 (last visited December 19, 2022).


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  and therefore denies them.

          26.    Therefore, on information and belief, Defendants monitored U.S. published patent

  applications and patents obtained by Philips in the semiconductor space in around the years 2006-

  2012.

          TI’s Response: Denied.

          27.    On information and belief, Defendants were aware of and considered the ’818

  patent, and its actual or potential applicability to their own current products and product roadmaps,

  including the products described herein.

          TI’s Response: Denied.

          28.    On information and belief, Defendants have expertise in the subject matter of the

  ’818 patent and possesses sufficient technical competence to understand the scope of such patent.

          TI’s Response: TI admits that it has technical competence and expertise in the design and

  manufacture of integrated circuits, generally. TI lacks sufficient knowledge and information to

  admit or deny the remaining allegations contained in this paragraph and therefore denies them.

          29.    By virtue of Philips’ and the ’818 patent’s fame in the semiconductor industry, the

  patent’s inclusion in the Philips Semiconductor portfolio, and Defendants’ development of their

  infringing products and product roadmaps, Defendants had actual knowledge of the ’818 patent

  around the time it issued or its U.S. application published, and in no event later than the December

  19, 2022 filing of NST’s Complaint. (Dkt. 1.)

          TI’s Response: The question of “actual knowledge” is a conclusion of law, to which no

  response is required. TI admits the ’818 Patent was listed in the Complaint served in this case. TI

  denies all allegations of infringement and all remaining allegations contained in this paragraph.

                                      U.S. Patent No. 7,373,449




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          30.    Plaintiff is the lawful owner of all right, title, and interest in United States Patent

  No.     7,373,449   (“’449    patent”),   entitled    “APPARATUS         AND      METHOD        FOR

  COMMUNICATING IN AN INTEGRATED CIRCUIT,” including the right to sue and to recover

  for infringement thereof. The ’449 patent was duly and legally issued on May 13, 2008, naming

  Andrei Radulescu and Kees Gerard Willem Goossens as inventors. A copy of the ʼ449 patent

  was attached to NST’s December 19, 2022 Complaint (Dkt. 1) as Exhibit 2.

          TI’s Response: TI admits that the face of the ’449 Patent is titled “Apparatus And Method

  For Communicating In An Integrated Circuit,” lists an issue date of May 13, 2008, lists Andrei

  Radulescu and Kees Gerard Willem Goossens as inventors and that a copy of what purports to be

  the ’449 Patent is attached as Exhibit 2. TI lacks sufficient knowledge and information to admit or

  deny the remaining allegations contained in this paragraph and therefore denies them.

          31.    The ’449 patent has 18 claims: 2 independent claims and 16 dependent claims.

          TI’s Response: To the extent this paragraph sets forth conclusions of law, no response is

  required. To the extent a response is required, TI admits.

          32.    The ’449 patent covers SoCs that have a resource manager that manages network

  resources by determining whether the resources (i.e., communication channels and connection

  properties) are available.

          TI’s Response: This paragraph purports to summarize the subject matter or claims of the

  ’449 patent, which speak for themselves. The paragraph therefore presents a conclusion of law to

  which no response is required. To the extent a response is required, TI lacks sufficient knowledge

  or information to admit or deny the allegations contained in this paragraph and, therefore, denies

  them.

          33.    The claims of the ʼ449 patent, including claim 10 (reproduced below), recite at least




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  these inventive concepts of the ’449 patent.

              10. Method for exchanging messages in an integrated circuit comprising
              a plurality of modules, the messages between the modules being exchanged
              over connections via a network, wherein said connections comprises a set of
              communication channels each having a set of connection properties, any
              communication channel being independently configurable, wherein said
              connection through the network supports transactions comprising at least one
              of outgoing messages from the first module to the second module and return
              messages from the second module to the first module and further comprising
              the steps of:

              the first module issuing a request for a connection with the second module to
              a communication manager, wherein the request comprises desired
              connection properties associated with the sets of communication channels;

              the communication manager forwarding the request to a resource manager;

              the resource manager determining whether a target connection with the desired
              connection properties is available;

              the resource manager responding with the availability of the target connection
              to the communication manager; and

              the target connection between the first and second module being established
              based on the available properties of said communication channels of said
              connection.

  (Dkt. 1-2,, ’449 patent at claim 10.) The subject matter described and claimed by the ’449 patent,

  including the method for exchanging messages in an integrated circuit of claim 10, was an

  improvement in the functionality, performance, and efficiency of integrated circuits and the

  connections and communication networks thereof and was novel and not well-understood, routine,

  or conventional at the time of the ’449 patent.

         TI’s Response: This paragraph purports to summarize claim 10 of the ’449 patent, which

  speaks for itself, or otherwise sets forth conclusions of law, to which no response is required. To

  the extent a response is required, TI denies the novelty and non-obviousness of the claimed

  invention and denies all remaining factual allegations contained in this paragraph.




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            34.      Defendants had knowledge of the ’449 patent at least as of the December 19,

  2022 filing of NST’s Complaint. (Dkt. 1.)

            TI’s Response: To the extent this paragraph sets forth conclusions of law, no response is

  required. To the extent a response is required, TI admits the ’449 Patent was listed in the Complaint

  served in this case. TI denies all remaining allegations contained in this paragraph.

            35.      The ’449 patent was developed and patented by Philips Semiconductors, one of the

  largest semiconductor companies in the world. Because of the size and prominence of Philips in

  the tight-knit semiconductor industry, industry participants, including, on information and belief,

  Defendants, monitored patenting activity by Philips and reviewed, and were aware of shortly after

  their publication, at least the U.S. published patent applications and patents obtained by Philips in

  the semiconductor space, including the ’449 patent. On information and belief, such industry

  participants, including Defendants, considered Philips’ U.S. published patent applications and

  patents in the semiconductor space, including the ’449 patent, and such Philips U.S. published

  patent applications and patents’ actual or potential applicability to their own current products and

  product roadmaps, including the products described herein.

            TI’s Response: TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

            36.      The ’449 patent is widely and publicly known, and frequently referenced, in the

  tight-knit semiconductor industry, having been cited during prosecution of approximately 76

  patent applications assigned to industry leaders such as Intel Corporation, Arm Limited, NEC

  Corporation, IBM Corporation, and others. 6

            TI’s Response: TI lacks sufficient knowledge and information to admit or deny the



  6
      https://patents.google.com/patent/US7373449B2/en?oq=7%2c373%2c449 (last visited December 19, 2022).


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  remaining allegations contained in this paragraph and therefore denies them.

            37.    On information and belief, Defendants sought to make themselves aware of

  competitors’ patents in the semiconductor space as they developed their products and product

  roadmaps, including the products described herein.

            TI’s Response: TI respects the intellectual property rights of others. TI lacks sufficient

  knowledge or information to admit or deny the remaining allegations contained in this paragraph

  and therefore denies them.

            38.    Therefore, on information and belief, Defendants monitored U.S. published patent

  applications and patents obtained by Philips in the semiconductor space in around the years 2006-

  2012.

            TI’s Response: Denied.

            39.    On information and belief, Defendants were aware of and considered the ’449

  patent, and its actual or potential applicability to their own current products and product roadmaps,

  including the products described herein.

            TI’s Response: Denied.

            40.    On information and belief, Defendants have expertise in the subject matter of

  the’449 patent and possesses sufficient technical competence to understand the scope of such

  patent.

            TI’s Response: TI admits that it has technical competence and expertise in the design and

  manufacture of integrated circuits, generally. TI lacks sufficient knowledge and information to

  admit or deny the remaining allegations contained in this paragraph and therefore denies them.

            41.    By virtue of Philips’ and the ’449 patent’s fame in the semiconductor industry, the

  patent’s inclusion in the Philips Semiconductor portfolio, and Defendants’ development of their




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  infringing products and product roadmaps, Defendants had actual knowledge of the ’449 patent

  around the time it issued or its U.S. application published, and in no event later than the December

  19, 2022 filing of NST’s Complaint. (Dkt. 1.)

         TI’s Response: The question of “actual knowledge” is a conclusion of law, to which no

  response is required. TI admits the ’449 Patent was listed in the Complaint served in this case. TI

  denies all allegations of infringement and all remaining allegations contained in this paragraph.

                                      U.S. Patent No. 7,594,052

         42.     Plaintiff is the lawful owner of all right, title, and interest in United States Patent

  No. 7,594,052 (“’052 patent”), entitled “INTEGRATED CIRCUIT AND METHOD OF

  COMMUNICATION SERVICE MAPPING,” including the right to sue and to recover for

  infringement thereof. The ’052 patent was duly and legally issued on September 22, 2009, naming

  Andrei Radulescu and Kees Gerard Willem Goossens as inventors. A copy of the ʼ052 patent was

  attached to NST’s December 19, 2022 Complaint (Dkt. 1) as Exhibit 3.

         TI’s Response: TI admits that the face of the ’052 Patent is titled “Integrated Circuit And

  Method Of Communication Service Mapping,” lists an issue date of September 22, 2009, lists

  Andrei Radulescu and Kees Gerard Willem Goossens as inventors and that a copy of what purports

  to be the ’052 Patent is attached as Exhibit 3. TI lacks sufficient knowledge and information to

  admit or deny the remaining allegations contained in this paragraph and therefore denies them.

         43.     The ’052 patent has 7 claims: 3 independent claims and 4 dependent claims.

         TI’s Response: To the extent this paragraph sets forth conclusions of law, no response is

  required. To the extent a response is required, TI admits.

         44.     The ’052 patent covers SoCs that offer differentiated intermodular communication

  services based on connections with corresponding properties. The covered SoCs map a requested




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  communication service to a connection based on communication and connection properties.

          TI’s Response: This paragraph purports to summarize the subject matter or claims of the

  ’052 patent, which speak for themselves. The paragraph therefore presents a conclusion of law to

  which no response is required. To the extent a response is required, TI lacks sufficient knowledge

  or information to admit or deny the allegations contained in this paragraph and, therefore, denies

  them.

          45.      The claims of the ’052 patent, including claim 6 (reproduced below), recite at least

  these inventive concepts of the ’052 patent.

                6. Method of communication service mapping in an integrated circuit, having
                a plurality of processing modules (M, S), wherein at least one first of said
                processing modules (M) requests at least one communication service to at least
                one second processing module (S) based on specific communication properties
                and at least one communication service identification, wherein said at least
                one communication service identification comprises at least one
                communication thread or at least one address range, said address range for
                identifying one or more second processing modules (S) or a memory region
                within said one or more second processing modules (S), comprising the steps
                of:

                coupling said plurality of processing modules (M, S) by an interconnect means
                (N) and

                enabling a connection based communication having a set of connection properties,

           controlling the communication between said at least one first of said plurality of
           processing modules (M) and said interconnect means (N) by at least one network
           interface (NI) associated to said at least one first of said processing modules,

           mapping the requested at least one communication service based on said specific
           communication properties to a connection based on a set of connection properties
           according to said at least one communication service identification.

  (Dkt. 1-3, ’052 patent at claim 6.) The subject matter described and claimed by the ’052 patent,

  including the method of communication service mapping in an integrated circuit of claim 6, was

  an improvement in the functionality, performance, and efficiency of integrated circuits and the



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  connections and communication networks thereof and was novel and not well-understood, routine,

  or conventional at the time of the ’052 patent.

         TI’s Response: This paragraph purports to summarize claim 6 of the ’052 patent, which

  speaks for itself, or otherwise sets forth conclusions of law, to which no response is required. To

  the extent a response is required, TI denies the novelty and non-obviousness of the claimed

  invention and denies all remaining factual allegations contained in this paragraph.

         46.     Defendants had knowledge of the ’052 patent at least as of the December

  19, 2022 filing of NST’s Complaint. (Dkt.1.)

         TI’s Response: To the extent this paragraph sets forth conclusions of law, no response is

  required. To the extent a response is required, TI admits the ’052 Patent was listed in the Complaint

  served in this case. TI denies all remaining allegations contained in this paragraph.

         47.     The ’052 patent was developed and patented by Philips Semiconductors, one of the

  largest semiconductor companies in the world. Because of the size and prominence of Philips in

  the tight-knit semiconductor industry, industry participants, including, on information and belief,

  Defendants, monitored patenting activity by Philips and reviewed, and were aware of shortly after

  their publication, at least the U.S. published patent applications and patents obtained by Philips in

  the semiconductor space, including the ’052 patent. On information and belief, such industry

  participants, including Defendants, considered Philips’ U.S. published patent applications and

  patents in the semiconductor space, including the ’052 patent, and such Philips U.S. published

  patent applications and patents’ actual or potential applicability to their own current products and

  product roadmaps, including the products described herein.

         TI’s Response: TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.




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            48.      The ’052 patent is widely and publicly known, and frequently referenced, in the

  tight-knit semiconductor industry, having been cited during prosecution of approximately 19

  patent applications assigned to industry leaders such as Samsung Electronics Co. and others. 7

            TI’s Response: TI lacks sufficient knowledge and information to admit or deny the

  remaining allegations contained in this paragraph and therefore denies them.

            49.      On information and belief, Defendants sought to make themselves aware of

  competitors’ patents in the semiconductor space as they developed their products and product

  roadmaps, including the products described herein.

            TI’s Response: TI respects the intellectual property rights of others. TI lacks sufficient

  knowledge or information to admit or deny the remaining allegations contained in this paragraph

  and therefore denies them.

            50.      Therefore, on information and belief, Defendants monitored U.S. published patent

  applications and patents obtained by Philips in the semiconductor space in around the years 2006-

  2012.

            TI’s Response: Denied.

            51.      On information and belief, Defendants were aware of and considered the ’052

  patent, and its actual or potential applicability to their own current products and product roadmaps,

  including the products described herein.

            TI’s Response: Denied.

            52.      On information and belief, Defendants have expertise in the subject matter of the

  ’052 patent and possesses sufficient technical competence to understand the scope of such patent.

            TI’s Response: TI admits that it has technical competence and expertise in the design and



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      https://patents.google.com/patent/US7594052B2/en?oq=7%2c594%2c052 (last visited December 19, 2022).


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  manufacture of integrated circuits, generally. TI lacks sufficient knowledge and information to

  admit or deny the remaining allegations contained in this paragraph and therefore denies them.

         53.     By virtue of Philips’ and the ’052 patent’s fame in the semiconductor industry, the

  patent’s inclusion in the Philips Semiconductor portfolio, and Defendants’ development of their

  infringing products and product roadmaps, Defendants had actual knowledge of the ’052 patent

  around the time it issued or its U.S. application published, and in no event later than the

  December 19, 2022 filing of NST’s Complaint. (Dkt. 1.)

         TI’s Response: The question of “actual knowledge” is a conclusion of law, to which no

  response is required. TI admits the ’052 Patent was listed in the Complaint served in this case. TI

  denies all allegations of infringement and all remaining allegations contained in this paragraph.

                                      U.S. Patent No. 7,769,893

         54.     Plaintiff is the lawful owner of all right, title, and interest in United States Patent

  No. 7,769,893 (“’9893 patent”), entitled “INTEGRATED CIRCUIT AND METHOD FOR

  ESTABLISHING TRANSACTIONS,” including the right to sue and to recover for infringement

  thereof. The ’9893 patent was duly and legally issued on August 3, 2010, naming Kees Gerard

  Willem Goossens as inventor. A copy of the ʼ9893 patent was attached to NST’s December 19,

  2022 Complaint (Dkt. 1) as Exhibit 4.

         TI’s Response: TI admits that the face of the ’9893 Patent is titled “Integrated Circuit

  And Method For Establishing Transactions,” lists an issue date of August 3, 2010, lists Kees

  Gerard Willem Goossens as inventor and that a copy of what purports to be the ’9893 Patent is

  attached as Exhibit 4. TI lacks sufficient knowledge and information to admit or deny the

  remaining allegations contained in this paragraph and therefore denies them

         55.     The ’9893 patent has 11 claims: 2 independent claims and 9 dependent claims.




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         TI’s Response: To the extent this paragraph sets forth conclusions of law, no response is

  required. To the extent a response is required, TI admits.

         56.     The ’9893 patent covers SoCs that use an address translation unit, which is part of

  a network interface, for address mapping, where the address translation unit determines both the

  location of a message receiving module and a location within the message receiving module.

         TI’s Response: This paragraph purports to summarize the subject matter or claims of the

  ’9893 patent, which speak for themselves. The paragraph therefore presents a conclusion of law

  to which no response is required. To the extent a response is required, TI lacks sufficient

  knowledge or information to admit or deny the allegations contained in this paragraph and,

  therefore, denies them.

         57.     The claims of the ’9893 patent, including claim 4 (reproduced below), recite at least

  these inventive concepts of the ’9893 patent.

               4. A method for exchanging messages in an integrated circuit comprising
               a plurality of modules, the messages between the plurality of modules being
               exchanged via a network wherein a message issued by an addressing module
               M comprises:

               first information indicative of a location of an addressed message receiving
               module S within the network and is comprised of (1) a connection identifier
               identifying two or more message receiving modules S and (2) an identifier of
               a passive network interface means associated with the addressed message
               receiving module S, and second information indicative of a particular location
               within the addressed message receiving module S, such as a memory, or
               a register address, the method including the steps of:

               (a) issuing from said addressing module M a message request including said
               first information, said second information, and data and/or connection
               properties to an address translation unit included as part of an active network
               interface module associated with said addressing module M,

               (b) arranging, at said address translation unit, the first and the second
               information comprising said issued message as a single address,

               (c) determining, at said address translation unit, which message receiving



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               module S is being addressed in said message request issued from said
               addressing module M based on said single address, and

               (d) further determining, at said address translation unit, the particular location
               within the addressed message receiving module S based on said single address.

  (Dkt. 1-4, ’9893 patent at claim 4.) The subject matter described and claimed by the ’9893 patent,

  including the method for exchanging messages in an integrated circuit of claim 4, was an

  improvement in the functionality, performance, and efficiency of integrated circuits and the

  connections and communication networks thereof and was novel and not well-understood, routine,

  or conventional at the time of the ’9893 patent.

         TI’s Response: This paragraph purports to summarize claim 4 of the ’9893 patent, which

  speaks for itself, or otherwise sets forth conclusions of law, to which no response is required. To

  the extent a response is required, TI denies the novelty and non-obviousness of the claimed

  invention and denies all remaining factual allegations contained in this paragraph.

         58.     Defendants had knowledge of the ’9893 patent at least as of the December

  19, 2022 filing of NST’s Complaint. (Dkt. 1.)

         TI’s Response: To the extent this paragraph sets forth conclusions of law, no response is

  required. To the extent a response is required, TI admits the ’9893 Patent was listed in the

  Complaint served in this case. TI denies all remaining allegations contained in this paragraph.

         59.     The ’9893 patent was developed and patented by Philips Semiconductors, one of

  the largest semiconductor companies in the world. Because of the size and prominence of Philips

  in the tight-knit semiconductor industry, industry participants, including, on information and

  belief, Defendants, monitored patenting activity by Philips and reviewed, and were aware of

  shortly after their publication, at least the U.S. published patent applications and patents obtained

  by Philips in the semiconductor space, including the ’9893 patent. On information and belief, such




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  industry participants, including Defendants, considered Philips’ U.S. published patent applications

  and patents in the semiconductor space, including the ’9893 patent, and such Philips U.S.

  published patent applications and patents’ actual or potential applicability to their own current

  products and product roadmaps, including the products described herein.

            TI’s Response: TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

            60.      The ’9893 patent is widely and publicly known, and frequently referenced, in the

  tight-knit semiconductor industry, having been cited during prosecution of approximately 76

  patent applications assigned to industry leaders such as Intel Corporation, Arm Limited, NEC

  Corporation, IBM Corporation, and others. 8

            TI’s Response: TI lacks sufficient knowledge and information to admit or deny the

  remaining allegations contained in this paragraph and therefore denies them.

            61.      On information and belief, Defendants sought to make themselves aware of

  competitors’ patents in the semiconductor space as they developed their products and product

  roadmaps, including the products described herein.

            TI’s Response: TI respects the intellectual property rights of others. TI lacks sufficient

  knowledge or information to admit or deny the remaining allegations contained in this paragraph

  and therefore denies them.

            62.      Therefore, on information and belief, Defendants monitored U.S. published patent

  applications and patents obtained by Philips in the semiconductor space in around the years 2006-

  2012.

            TI’s Response: Denied.



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      https://patents.google.com/patent/US7769893B2/en?oq=7%2c769%2c893 (last visited December 19, 2022).


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         63.     On information and belief, Defendants were aware of and considered the ’9893

  patent, and its actual or potential applicability to their own current products and product roadmaps,

  including the products described herein.

         TI’s Response: Denied.

         64.     On information and belief, Defendants have expertise in the subject matter of the

  ’9893 patent and possesses sufficient technical competence to understand the scope of such patent.

         TI’s Response: TI admits that it has technical competence and expertise in the design and

  manufacture of integrated circuits, generally. TI lacks sufficient knowledge and information to

  admit or deny the remaining allegations contained in this paragraph, and therefore denies them.

         65.     By virtue of Philips’ and the ’9893 patent’s fame in the semiconductor industry, the

  patent’s inclusion in the Philips Semiconductor portfolio, and Defendants’ development of their

  infringing products and product roadmaps, Defendants had actual knowledge of the ’9893 patent

  around the time it issued or its U.S. application published, and in no event later than the December

  19, 2022 filing of NST’s Complaint. (Dkt. 1.)

         TI’s Response: The question of “actual knowledge” is a conclusion of law, no response

  is required. TI admits the ’9893 Patent was listed in the Complaint served in this case. TI denies

  all allegations of infringement and all remaining allegations contained in this paragraph.

                                      U.S. Patent No. 8,072,893

         66.     Plaintiff is the lawful owner of all right, title, and interest in United States Patent

  No. 8,072,893 (“’2893 patent”), entitled “INTEGRATED CIRCUIT WITH DATA

  COMMUNICATION NETWORK AND IC DESIGN METHOD,” including the right to sue and

  to recover for infringement thereof. The ’2893 patent was duly and legally issued on December

  6, 2011, naming John Dielissen and Edwin Rijpkema as inventors. A copy of the ʼ2893 patent




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  was attached to NST’s December 19, 2022 Complaint (Dkt. 1) as Exhibit 5.

            TI’s Response: TI admits that the face of the ’2893 Patent is titled “Integrated Circuit

  With Data Communication Network And IC Design Method,” lists an issue date of December 6,

  2011, lists John Dielissen and Edwin Rijpkema as inventors as inventors and that a copy of what

  purports to be the ’2893 Patent is attached as Exhibit 5. TI lacks sufficient knowledge and

  information to admit or deny the remaining allegations contained in this paragraph and therefore

  denies them

            67.    The ’2893 patent has 12 claims: 5 independent claims and 7 dependent claims.

            TI’s Response: To the extent this paragraph sets forth conclusions of law, no response is

  required. To the extent a response is required, TI admits.

            68.    The ’2893 patent covers SoCs that improve data communication speed and

  frequency synchronization between processing units through the use of packetized data

  (comprising N data elements) and introduction of a delay (of M*N cycles) on a communication

  channel for communication synchronization, with such delay correlated to the size (N) of the data

  packet.

            TI’s Response: This paragraph purports to summarize the subject matter or claims of the

  ’2893 patent, which speak for themselves. The paragraph therefore presents a conclusion of law

  to which no response is required. To the extent a response is required, TI lacks sufficient

  knowledge or information to admit or deny the allegations contained in this paragraph and,

  therefore, denies them.

            69.    The claims of the ʼ2893 patent, including claims 1 and 10 (reproduced below),

  recite at least these inventive concepts of the ʼ2893 patent.

             1. An integrated circuit comprising:




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          a plurality of functional blocks; and

          a data communication network comprising a plurality of network stations being
          interconnected via a plurality of communication channels for communicating data
          packages between the functional blocks, each data package comprising N data
          elements including a data element comprising routing information for the network
          stations, N being an integer of at least two, the plurality of network stations
          comprising a plurality of data routers and a plurality of network interfaces, each
          of the data routers being coupled to a functional block via a network interface, the
          data communication network comprising a first network station and a second
          network station interconnected through a first communication channel, the data
          communication network further comprising M*N data storage elements, M being
          a positive integer, the data communication introducing a delay of M*N cycles on
          the first communication channel when the data communication network identifies
          the first communication channel as having a data transfer delay exceeding a
          predefined delay threshold.

          10. A method of designing an integrated circuit comprising a plurality of
          functional blocks, and a data communication network comprising a plurality of
          network stations being interconnected via a plurality of communication channels
          for communicating data packages between the functional blocks, each data
          package comprising N data elements including a data element comprising routing
          information for the network stations, N being an integer of at least two, the plurality
          of network stations comprising a plurality of data routers and a plurality of network
          interfaces, each of the data routers being coupled to a functional block via a network
          interface; the method comprising the acts of:

          identifying a first communication channel between a first network station and a
          second network station that has a data transfer delay exceeding a predefined delay
          threshold; and

          in response to the identifying act, inserting M*N data storage elements into the data
          communication network, M being a positive integer, for introducing a delay
          of M*N cycles on the first communication channel.

  (Dkt. 1-5, ʼ2893 patent at claims 1 and 10.) The subject matter described and claimed by the

  ʼ2893 patent, including the integrated circuit of claim 1 and method of designing an integrated

  circuit of claim 10, was an improvement in the functionality, performance, and efficiency of

  integrated circuits and the connections and communication networks thereof and was novel and

  not well-understood, routine, or conventional at the time of the ʼ2893 patent.

         TI’s Response: This paragraph purports to summarize claims 1 and 10 of the ’2893 patent,



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  which speaks for itself, or otherwise sets forth conclusions of law, to which no response is required.

  To the extent a response is required, TI denies the novelty and non-obviousness of the claimed

  invention and denies all remaining factual allegations contained in this paragraph.

         70.     Defendants had knowledge of the ʼ2893 patent at least as of the December

  19, 2022 filing of NST’s Complaint. (Dkt. 1.)

         TI’s Response: To the extent this paragraph sets forth conclusions of law, no response is

  required. To the extent a response is required, TI admits the ’2893 Patent was listed in the

  Complaint served in this case. TI denies all remaining allegations contained in this paragraph.

         71.     The ʼ2893 patent was developed and patented by Philips Semiconductors, one of

  the largest semiconductor companies in the world. Because of the size and prominence of Philips

  in the tight-knit semiconductor industry, industry participants, including, on information and

  belief, Defendants, monitored patenting activity by Philips and reviewed, and were aware of

  shortly after their publication, at least the U.S. published patent applications and patents obtained

  by Philips in the semiconductor space, including the ʼ2893 patent. On information and belief, such

  industry participants, including Defendants, considered Philips’ U.S. published patent applications

  and patents in the semiconductor space, including the ʼ2893 patent, and such Philips U.S. published

  patent applications and patents’ actual or potential applicability to their own current products and

  product roadmaps, including the products described herein.

         TI’s Response: TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         72.     The ’2893 patent is widely and publicly known, and frequently referenced, in the

  tight-knit semiconductor industry, having been cited during prosecution of approximately 13




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  patent applications assigned to industry leaders such as Intel Corporation and others. 9

            TI’s Response: TI lacks sufficient knowledge and information to admit or deny the

  remaining allegations contained in this paragraph and therefore denies them.

            73.      On information and belief, Defendants sought to make themselves aware of

  competitors’ patents in the semiconductor space as they developed their products and product

  roadmaps, including the products described herein.

            TI’s Response: TI respects the intellectual property rights of others. TI lacks sufficient

  knowledge or information to admit or deny the remaining allegations contained in this paragraph

  and therefore denies them.

            74.      Therefore, on information and belief, Defendants monitored U.S. published patent

  applications and patents obtained by Philips in the semiconductor space in around the years 2006-

  2012.

            TI’s Response: Denied.

            75.      On information and belief, Defendants were aware of and considered the ’2893

  patent, and its actual or potential applicability to their own current products and product roadmaps,

  including the products described herein.

            TI’s Response: Denied.

            76.      On information and belief, Defendants have expertise in the subject matter of the

  ’2893 patent and possesses sufficient technical competence to understand the scope of such patent.

            TI’s Response: TI admits that it has technical competence and expertise in the design and

  manufacture of integrated circuits, generally. TI lacks sufficient knowledge and information to

  admit or deny the remaining allegations contained in this paragraph and therefore denies them.



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      https://patents.google.com/patent/US8072893B2/en?oq=8%2c072%2c893 (last visited December 19, 2022).


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         77.     By virtue of Philips’ and the ’2893 patent’s fame in the semiconductor industry, the

  patent’s inclusion in the Philips Semiconductor portfolio, and Defendants’ development of their

  infringing products and product roadmaps, Defendants had actual knowledge of the ’9893 patent

  around the time it issued or its U.S. application published, and in no event later than the December

  19, 2022 filing of NST’s Complaint. (Dkt. 1.)

         TI’s Response: The question of “actual knowledge” is a conclusion of law, to which no

  response is required. To the extent a response is required, TI admits the ’2893 Patent was listed in

  the Complaint served in this case. TI denies all allegations of infringement and all remaining

  allegations contained in this paragraph

                                      U.S. Patent No. 8,086,800

         78.     Plaintiff is the lawful owner of all right, title, and interest in United States Patent

  No. 8,086,800 (“’800 patent”), entitled “INTEGRATED CIRCUIT AND METHOD FOR

  BUFFERING TO OPTIMIZE BURST LENGTH IN NETWORKS ON CHIPS,” including the

  right to sue and to recover for infringement thereof. The ’800 patent was duly and legally issued

  on December 27, 2011, naming Andrei Radulescu and Kees Gerard Willem Goossens as inventors.

  A copy of the ʼ800 patent was attached to NST’s December 19, 2022 Complaint (Dkt. 1) as Exhibit

  6.

         TI’s Response: TI admits that the face of the ’800 Patent is titled “Integrated Circuit

  Method For Buffering To Optimize Burst Length In Networks On Chips,” lists an issue date of

  December 27, 2011, lists Andrei Radulescu and Kees Gerard Willem Goossens as inventors and

  that a copy of what purports to be the ’800 Patent is attached as Exhibit 6. TI lacks sufficient

  knowledge and information to admit or deny the remaining allegations contained in this paragraph

  and therefore denies them




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          79.     The ’800 patent has 21 claims: 4 independent claims and 17 dependent claims.

          TI’s Response: To the extent this paragraph sets forth conclusions of law, no response is

  required. To the extent a response is required, TI admits.

          80.     The ’800 patent covers SoCs that employ data buffering at requesting (master) and

  responding (slave) modules and where each module has a network interface with a wrapper that

  buffers data into optimal amounts for transfer.

          TI’s Response: This paragraph purports to summarize the subject matter or claims of the

  ’800 patent, which speak for themselves. The paragraph therefore presents a conclusion of law to

  which no response is required. To the extent a response is required, TI lacks sufficient knowledge

  or information to admit or deny the allegations contained in this paragraph and, therefore, denies

  them.

          81.     The claims of the ʼ800 patent, including claim 10 (reproduced below), recite at least

  these inventive concepts of the ’800 patent.

                10. A method for buffering data in an integrated circuit having a plurality of
                processing modules being connected with an interconnect through interface
                units, wherein a first processing module communicates to a second processing
                module using transactions, the method comprising the acts of:

                configuring the first processing module having a first memory as a master the
                provides requests;

                configuring the second processing module having a second memory as a slave
                the provides responses to the requests;

                connecting the master to a master interface unit of the interface units;

                connecting the master interface unit to the interconnect so that the master
                interface unit is between the master and the interconnect;

                connecting the slave to a slave interface unit of the interface units;

                connecting the slave interface unit to the interconnect so that the slave interface
                unit is between the slave and the interconnect;



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               determining by a master determination unit of the master interface unit a first
               optimal amount of data to be buffered by a master wrapper of the master
               interface unit;

               determining by a slave determination unit of the slave interface unit a second
               optimal amount of data to be buffered by a slave wrapper of the slave interface
               unit;

               buffering by the slave wrapper of the slave interface unit data from the slave
               to be transferred over the interconnect until a first optimal amount of data is
               buffered;

               transferring the buffered data from the slave wrapper to the master wrapper
               when said first optimal amount of data has been buffered by the slave wrapper;

               buffering by the master wrapper of the master interface unit data from the
               master to be transferred over the interconnect until a second optimal amount
               of data is buffered by the master wrapper;

               transferring the buffered data from the master wrapper to the slave wrapper
               when said second optimal amount of data has been buffered by the master
               wrapper,

               wherein at least one of the first determination unit and the second
               determination unit is further configured to determine an optimal moment for
               sending the data in said first wrapper or said second wrapper according to
               communication properties of the communication between the master and the
               slave, wherein the communication properties include ordering of data
               transport, flow control including when a remote buffer is reserved for a
               connection, then a data producer will be allowed to send data only when it is
               guaranteed that space is available for the produced data at the remote buffer,
               throughput where a lower bound on throughput is guaranteed, latency where
               an upper bound for latency is guaranteed, lossiness including dropping of
               data, transmission termination, transaction completion, data correctness,
               priority, and data delivery.

  (Dkt. 1-6, ’800 patent at claim 10.) The subject matter described and claimed by the ’800 patent,

  including the method for buffering data in an integrated circuit of claim 10, was an improvement

  in the functionality, performance, and efficiency of integrated circuits and the connections and

  communication networks thereof and was novel and not well-understood, routine, or conventional

  at the time of the ’800 patent.



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         TI’s Response: This paragraph purports to summarize claim 10 of the ’800 patent, which

  speaks for itself, or otherwise sets forth conclusions of law, to which no response is required. To

  the extent a response is required, TI denies the novelty and non-obviousness of the claimed

  invention and denies all remaining factual allegations contained in this paragraph.

         82.     Defendants had knowledge of the ’800 patent at least as of the December

  19, 2022 filing of NST’s Complaint. (Dkt. 1.)

         TI’s Response: To the extent this paragraph sets forth conclusions of law, no response is

  required. To the extent a response is required, TI admits the ’800 Patent was listed in the

  Complaint served in this case. TI denies all remaining allegations contained in this paragraph.

         83.     The ’800 patent was developed and patented by Philips Semiconductors, one of the

  largest semiconductor companies in the world. Because of the size and prominence of Philips in

  the tight-knit semiconductor industry, industry participants, including, on information and belief,

  Defendants, monitored patenting activity by Philips and reviewed, and were aware of shortly after

  their publication, at least the U.S. published patent applications and patents obtained by Philips in

  the semiconductor space, including the ’800 patent. On information and belief, such industry

  participants, including Defendants, considered Philips’ U.S. published patent applications and

  patents in the semiconductor space, including the ’800 patent, and such Philips U.S. published

  patent applications and patents’ actual or potential applicability to their own current products and

  product roadmaps, including the products described herein.

         TI’s Response: TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         84.     On information and belief, Defendants sought to make themselves aware of

  competitors’ patents in the semiconductor space as they developed their products and product




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  roadmaps, including the products described herein.

          TI’s Response: TI respects the intellectual property rights of others. TI lacks sufficient

  knowledge or information to admit or deny the remaining allegations contained in this paragraph

  and therefore denies them.

          85.    Therefore, on information and belief, Defendants monitored U.S. published patent

  applications and patents obtained by Philips in the semiconductor space in around the years 2006-

  2012.

          TI’s Response: Denied.

          86.    On information and belief, Defendants were aware of and considered the ’800

  patent, and its actual or potential applicability to their own current products and product roadmaps,

  including the products described herein.

          TI’s Response: Denied.

          87.    On information and belief, Defendants have expertise in the subject matter of the

  ’800 patent and possesses sufficient technical competence to understand the scope of such patent.

          TI’s Response: TI admits that it has technical competence and expertise in the design and

  manufacture of integrated circuits, generally. TI lacks sufficient knowledge and information to

  admit or deny the remaining allegations contained in this paragraph and therefore denies them.

          88.    By virtue of Philips’ and the ’800 patent’s fame in the semiconductor industry, the

  patent’s inclusion in the Philips Semiconductor portfolio, and Defendants’ development of their

  infringing products and product roadmaps, Defendants had actual knowledge of the ’800 patent

  around the time it issued or its U.S. application published, and in no event later than the December

  19, 2022 filing of NST’s Complaint. (Dkt. 1.)

          TI’s Response: The question of “actual knowledge” is aconclusion of law, to which no




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  response is required. TI admits the ’800 Patent was listed in the Complaint served in this case. TI

  denies all allegations of infringement and all remaining allegations contained in this paragraph.

                 BACKGROUND OF DEFENDANTS’ INFRINGING CONDUCT

           89.   Plaintiff incorporates by reference the allegations contained in paragraphs 1 to 88

  above.

           TI Response: TI restates and incorporates by reference its answers to the foregoing

  paragraphs as if fully set forth herein.

           90.   In light of the Court’s September 25, 2023 Order (Dkt. 95 (dismissing NST’s pre-

  suit willfulness and indirect infringement claims, NST’s willfulness and indirect infringement

  claims herein are limited to Defendant’s post-suit activities. NST will continue to pursue

  discovery related to the dismissed claims pursuant to footnote 3 of said Order (see id. at 8 n.3)

  and, if such discovery warrants, later move for leave to amend this First Amended Complaint to

  replead those dismissed claims.

           TI Response: TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

           91.   SoCs are widely used in consumer electronics or computing devices, including

  smartphones, laptops, tablets, and embedded systems such as vehicle infotainment devices and

  advanced driver assistance systems. SoCs are complex integrated circuits that may incorporate

  multiple processors, memory units, and interfaces onto a single chip.

           TI’s Response: Admitted.

           92.   As SoCs have developed over time, more processing cores and other IP blocks were

  incorporated into SoCs, resulting in increased intermodular connections and a greater need for

  intra-SoC communication efficiency. Thus, intra-SoC communication designs have moved from




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  prior interconnect technologies (e.g., bus or point-to-point designs) to network interconnects,

  which provide advantages compared to other forms of intra-SoC communication, such as fewer

  wires, lower routing congestion, and decreased SoC die area, all leading to: smaller devices;

  increased IP block density, which results in more powerful devices; increased power efficiency,

  which enables better battery life; decreased thermal load, which leads to longer system life; and

  improved system performance.       Therefore, interconnect efficiency—driven by the pioneering

  innovations claimed in the Asserted Patents—is now a dominant factor in determining overall SoC

  system performance, size, and cost.

         TI’s Response: To the extent this paragraph calls for a legal or expert conclusion no

  response is required. To the extent a response is required, TI admits that SoCs and intra-SoC

  communication, have as a general matter, become faster and more efficient over time. TI further

  admits that modern SoCs incorporate a range of sophisticated technologies, including advanced or

  multiple processing cores and IP blocks. TI further admits that bus interconnect technologies are

  substitutes to network interconnects, but denies that the latter provides the advantages alleged. TI

  denies all remaining allegations contained in this paragraph.

         93.     As discussed above, the Asserted Patents relate to fundamental innovations in

  SoCs, including how the multitude of processors, memories, and other functional units residing on

  an SoC are interconnected and communicate with each other.

         TI’s Response: This paragraph purports to summarize the subject matter of the Asserted

  Patents, which speak for themselves. To the extent a response is required, TI denies.

         94.     The Defendants are a leading semiconductor company (TI) and a leading automobile

  company (Ford). On information and belief, TI provides SoCs that are incorporated into Ford’s

  products. On information and belief, TI’s SoCs include Arteris interconnect technology and/or a




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  derivative thereof. 10 Further, on information and belief, Ford provides products that contain TI

  SoCs including Arteris interconnect technology and/or a derivative thereof. 11 Thus, on information

  and belief, Defendants make, use, sell, offer for sale, and/or import, or have otherwise made, used,

  sold, offered for sale, and/or imported, SoCs including Arteris interconnect technology and/or a

  derivative thereof, and/or products containing such SoCs.

          TI’s Response: Ford has been severed and stayed from this action. TI admits that it is a

  semiconductor company who supplies SoCs to a broad range of markets including the automotive

  market. TI admits that it makes and sells various SoCs, some of which are incorporated into Ford’s

  products and some of which include Arteris interconnect technology.                         TI lacks sufficient

  knowledge and information to admit or deny the remaining allegations contained in this paragraph

  and therefore denies them.

          95.      As set forth in the charts appended hereto, the TI SoCs, including their

  incorporation of Arteris interconnect technology and/or a derivative thereof, as well as products

  incorporating the TI SoCs, infringe each of the Asserted Patents.

          TI’s Response: Denied.




  10
     https://www.arteris.com/customers (last visited December 19, 2022) (identifying TI as an Arteris customer and
  stating: “Texas Instruments has used Arteris® IP technology for over a decade. [Arteris] technology is used in the
  Jacinto 5/6 and TDA2x / TDA3x advanced driver-assistance system (ADAS) and infotainment SoCs, the CC26xx /
  CC13xx SimpleLink IoT SoCs, and the OMAP 4 / OMAP 5 SoCs.”); see also
  https://news.thomasnet.com/fullstory/arteris-flexnoc-network-on-chip-technology-designed-into-majority-of-
  mobile-socs-20009449 (last visited December 19, 2022) (Arteris FlexNoC was incorporated into over 60% of SoCs
  deployed in smartphones and tablets).
  11
     https://www.prnewswire.com/news-releases/tis-innovative-automotive-infotainment-platform-enables-ford-to-
  redefine-the-user-experience-in-fords-sync-3-300016382.html (last visited December 19, 2022) (stating that “[TI]
  and Ford Motor Company have collaborated on an infotainment solution” and that Ford’s infotainment system
  “incorporates TI's OMAP™ 5 processor, a member of the ‘Jacinto’ family of automotive processors”);
  https://seekingalpha.com/article/4513926-texas-instruments-automotive-growth-continues (last visited December
  19, 2022) (identifying Ford and Volkswagen as customers of TI’s automotive SoCs for infotainment systems,
  including the Jacinto SoC product family); https://www.prnewswire.com/news-releases/more-than-150-million-
  automotive-processors-from-texas-instruments-drive-innovation-in-the-automotive-market-enabling-a-safer-and-
  more-connected-driving-experience-300382846.html (last visited December 19, 2022) (stating that TI’s “‘Jacinto’
  family of processors is powering infotainment systems” for Ford and Volkswagen vehicles).


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         96.     On information and belief, TI’s products that infringe the Asserted Patents

  (collectively, “TI Accused Products”) include the following:




         TI’s Response: Denied.

         97.     The above-listed TI Accused Products are non-limiting. Additional products of TI

  may infringe the Asserted Patents, and the above-listed TI Accused Products may infringe

  additional patents.

         TI’s Response: Denied.

         98.     TI has infringed and continues to infringe the Asserted Patents by making, using,

  selling, offering to sell, and/or importing, without license or authority, the TI Accused Products as

  alleged herein, which embody or use the inventions claimed in the Asserted Patents literally or

  under the doctrine of equivalents.


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          TI’s Response: Denied.

          99.      Comparisons of claims of the Asserted Patents to exemplary products of the TI

  Accused Products was attached to NST’s December 19, 2022 Complaint (Dkt. 1) as Exhibit 7 (ʼ818

  patent), Exhibit 8 (ʼ449 patent), Exhibit 9 (ʼ052 patent), Exhibit 10 (ʼ9893 patent), Exhibit 11

  (ʼ2893), and Exhibit 12 (ʼ800 patent), which are incorporated herein by reference.

          TI’s Response: TI admits that Exhibits 7-12 appear to be charts relating to the Asserted

  Patents. TI denies that the charts accurately describe the TI Accused Products; denies that any of

  the TI Accused Products embodies or operates according to any claim of any Asserted Patent;

  denies that any exhibit demonstrates infringement of any Asserted Patent; and denies all allegations

  of patent infringement expressed or implied by any exhibit. TI lacks knowledge or information

  sufficient to admit or deny any remaining allegations expressed, implied, or incorporated by this

  paragraph and therefore denies them.

          100.     TI has induced infringement and continues to induce infringement of the Asserted

  Patents by actively and knowingly inducing others to make, use, sell, offer to sell, and/or import,

  without license or authority, the TI Accused Products as alleged herein, which embody or use the

  inventions claimed in the Asserted Patents literally or under the doctrine of equivalents.

          TI’s Response: Denied.

          101.     TI markets, advertises, offers for sale, and/or otherwise promotes the TI Accused

  Products and, on information and belief, does so to actively and knowingly induce, encourage

  instruct, and aid one or more persons in the United States to make, use, sell, offer to sell and/or

  import the TI Accused Products. For example, TI, or an entity under TI’s direction or control,

  advertises, offers for sale, and/or otherwise promotes the TI Accused Products on its website.12


  12
    See, e.g., https://www.ti.com/lit/pdf/spry313 (last visited December 19, 2022) (Jacinto 6 marketing white paper);
  https://www.ti.com/lit/pdf/spry250 (last visited December 19, 2022) (discussing TDA2x in marketing white paper);


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  TI, or one or more related entities, further publishes and distributes data sheets, manuals, and

  guides for the TI Accused Products.13 Therein, on information and belief, TI describes and touts

  the use of the subject matter claimed in the Asserted Patents, as described and alleged herein.

          TI’s Response: TI admits that TI offers its products for sale on its website and publishes

  materials, such as data sheets, manuals, guides, and white papers, on its website. TI denies the

  remaining allegations of this paragraph.

          102.     TI has contributorily infringed and continues to contributorily infringe the Asserted

  Patents by selling or offering to sell TI Accused Products, knowing them to be especially made or

  especially adapted for practicing the inventions of the Asserted Patents and not a staple article or

  commodity of commerce suitable for substantial non-infringing use.

          TI’s Response: Denied.

          103.     On information and belief, and as alleged above, TI has known of the existence of

  the Asserted Patents and their applicability to TI’s Accused Products, and its acts of infringement

  have been willful and in disregard for the Asserted Patents, without any reasonable basis for

  believing that it had a right to engage in the infringing conduct, at least as of the dates of knowledge

  of the Asserted Patents alleged above, and no later than the December 19, 2022 filing of NST’s

  Complaint. (Dkt. 1.)

          TI’s Response: Denied.




  https://www.ti.com/lit/pdf/spry272 (last visited December 19, 2022) (TDA3x marketing white paper);
  https://www.ti.com/lit/pdf/szzp146 (last visited December 19, 2022) (CC13xx/CC26xx new product update
  presentation); https://www.ti.com/lit/pdf/swpt034 (last visited December 19, 2022) (OMAP 4 product bulletin); and
  https://www.ti.com/lit/pdf/swct010 (last visited December 19, 2022) (OMAP 5 product bulletin).
  13
     See, e.g., https://www.ti.com/lit/pdf/sprui29g (last visited December 19, 2022) (TDA2x manual);
  https://training.ti.com/tda2-and-tda3-processors-training-series (last visited December 19, 2022) (TDA2x and
  TDA3x training materials); https://www.ti.com/lit/pdf/swru439m (last visited December 19, 2022) (CC26xx /
  CC13xx guide);
  https://www.ti.com/lit/ug/spruif7c/spruif7c.pdf?ts=1638387986460&ref_url=https%253A%252F%252Fw (last
  visited December 19, 2022) (DRA79x manual discussing DRA794).


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         104.    On information and belief, Ford’s products that infringe the Asserted Patents

  (collectively, “Ford Accused Products”) include the following:




         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         105.    The above-listed Ford Accused Products are non-limiting. Additional products of

  Ford may infringe the Asserted Patents, and the above-listed Ford Accused Products may infringe

  additional patents.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         106.    On information and belief, the Ford Accused Products include TI SoCs with Arteris

  interconnect technology and/or a derivative thereof.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the


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  allegations contained in this paragraph and therefore denies them.

         107.    Ford has infringed and continues to infringe the Asserted Patents by making, using,

  selling, offering to sell, and/or importing, without license or authority, the Ford Accused Products

  as alleged herein, which embody or use the inventions claimed in the Asserted Patents literally or

  under the doctrine of equivalents.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         108.    Comparison of claims of the Asserted Patents to an exemplary product of the Ford

  Accused Products was attached to NST’s December 19, 2022 Complaint (Dkt. 1) as Exhibit 13

  (ʼ818 patent), Exhibit 14 (ʼ449 patent), Exhibit 15 (ʼ052 patent), Exhibit 16 (ʼ9893 patent), Exhibit

  17 (ʼ2893) and Exhibit 18 (ʼ800 patent), which are incorporated herein by reference.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, and to the extent exhibits 13-18 resemble exhibits 7-12, TI denies that the

  charts accurately describe the TI Accused Products; denies that any of the TI Accused Products

  embodies or operates according to any claim of any Asserted Patent; denies that any exhibit

  demonstrates infringement of any Asserted Patent; and denies all allegations of patent

  infringement expressed or implied by any exhibit. TI lacks knowledge or information sufficient to

  admit or deny any remaining allegations expressed, implied, or incorporated by this paragraph and

  therefore denies them.

         109.    Ford has induced infringement and continues to induce infringement of the




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  Asserted Patents by actively and knowingly inducing others to make, use, sell, offer to sell, and/or

  import, without license or authority, the Ford Accused Products as alleged herein, which embody

  or use the inventions claimed in the Asserted Patents literally or under the doctrine of equivalents.

          TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

          110.     Ford markets, advertises, offers for sale, and/or otherwise promotes the Ford

  Accused Products and, on information and belief, does so to actively and knowingly induce,

  encourage, instruct, and aid one or more persons in the United States to make, use, sell, offer to

  sell and/or import the Ford Accused Products. For example, Ford, or an entity under Ford’s

  direction or control, advertises, offers for sale, and/or otherwise promotes the Ford Accused

  Products on its website. 14 Ford, or one or more related entities, further publishes and distributes

  data sheets, manuals, and guides for the Ford Accused Products. 15 Therein, on information and

  belief, Ford describes and touts the use of the subject matter claimed in the Asserted Patents, as

  described and alleged herein.

          TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the



  14
     See, e.g., https://www.ford.com/technology/sync/?gnav=footer-aboutford (last visited December 19, 2022)
  (advertising the SYNC3 and other SYNC infotainment systems); and https://www.ford.com/suvs/explorer/pricing-
  and-incentives/?gnav=vhpnav-io (last visited December 19, 2022) (Ford Explorer Pricing and Incentives webpage).
  15
     See, e.g., https://www.ford.com/support/how-tos/sync/sync-3/ (last visited December 19, 2022) (providing
  numerous product support articles for SYNC3); https://www.ford.com/suvs/explorer/models/explorer/ (last visited
  December 19, 2022) (Ford Explorer overview and specifications); and
  https://www.ford.com/suvs/explorer/features/technology/#pasrk_assist (last visited December 19, 2022) (Ford
  Explorer park assist feature overview).


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  allegations contained in this paragraph and therefore denies them.

           111.   Ford has contributorily infringed and continues to contributorily infringe the

  Asserted Patents by selling or offering to sell Ford Accused Products, knowing them to be

  especially made or especially adapted for practicing the inventions of the Asserted Patents and not

  a staple article or commodity of commerce suitable for substantial non-infringing use.

           TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

           112.   On information and belief, and as alleged above, Ford has known of the existence

  of the Asserted Patents and their applicability to Ford’s Accused Products, and its acts of

  infringement have been willful and in disregard for the Asserted Patents, without any reasonable

  basis for believing that it had a right to engage in the infringing conduct, at least as of the dates of

  knowledge of the Asserted Patents alleged above, and no later than the December 19, 2022 filing of

  NST’s Complaint. (Dkt. 1.)

           TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

                  COUNT I – INFRINGEMENT OF U.S. PATENT NO. 7,366,818

           113.   Plaintiff incorporates by reference the allegations contained in paragraphs 1 to 112

  above.

           TI Response: TI restates and incorporates by reference its answers to the foregoing




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  paragraphs as if fully set forth herein.

         114.    On information and belief, TI has made, used, offered for sale, sold, and/or

  imported products, including within this Judicial District, including at least the TI Accused

  Products, that infringe, either literally or under the doctrine of equivalents, one or more claims of

  the ʼ818 patent in violation of 35 U.S.C. § 271(a), including claim 1. Comparison of claim 1 of

  the ’818 patent to an exemplary product of the TI Accused Products was attached to NST’s

  December 19, 2022 Complaint (Dkt. 1) as Exhibit 7, which is incorporated herein by reference.

         TI’s Response: TI denies that the exhibit accurately describes the TI Accused Products;

  denies that any of the TI Accused Products embodies or operates according to any claim of any

  Asserted Patent; denies that the exhibit demonstrates infringement of any Asserted Patent; and

  denies all allegations of patent infringement expressed or implied by this paragraph or the exhibit.

  TI denies all remaining allegations expressed, implied, or incorporated by this paragraph.

         115.    On information and belief, with knowledge of the ʼ818 patent, TI has actively

  induced and continues to induce the direct infringement of one or more claims of the ʼ818 patent,

  including claim 1, in violation of 35 U.S.C. § 271(b), by its customers and/or end users of its

  products, including at least the TI Accused Products, by selling, providing support for, providing

  instructions for use of, and/or otherwise encouraging its customers and/or end-users to directly

  infringe, either literally and/or under the doctrine of equivalents, one or more claims of the ʼ818

  patent, including claim 1, with the intent to encourage those customers and/or end users to infringe

  the ʼ818 patent.

         TI’s Response: Denied.

         116.    By way of example, on information and belief, TI actively induces infringement of

  the ʼ818 patent by encouraging, instructing, and aiding one or more persons in the United States,




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  including but not limited to customers and/or end users who test, operate, and use TI’s products,

  including at least the TI Accused Products, to make, use, sell, offer to sell, and/or import TI’s

  products, including at least the TI Accused Products, in a manner that infringes at least one claim

  of the ʼ818 patent, including claim 1. For example, as described above, TI actively markets,

  advertises, offers for sale, and/or otherwise promotes the TI Accused Products by publishing and

  distributing data sheets, manuals, and guides for the TI Accused Products. Therein, on information

  and belief, TI describes and touts the use of the subject matter claimed in the ʼ818 patent.

         TI’s Response: TI denies that marketing, advertising, offering for sale, or promoting TI’s

  products induces infringement of any Asserted Patent. TI denies that publishing and distributing

  materials such as data sheets, manuals, and guides for TI’s products induces infringement of any

  Asserted Patent. TI denies all remaining allegations in this paragraph.

         117.    On information and belief, with knowledge of the ʼ818 patent, TI also contributed

  to, and continues to contribute to, the infringement of one or more claims of the ʼ818 patent,

  including claim 1, in violation of 35 U.S.C. § 271(c), by offering to sell, selling, and/or importing

  the TI Accused Products, knowing them to be especially made or especially adapted for practicing

  the inventions of the ’818 patent and not a staple article or commodity of commerce suitable for

  substantial non-infringing use.      This is evidenced by, among other things, the design,

  configuration, and functionality of the TI Accused Products, which are especially made or

  especially adapted for use in infringement of the ’818 patent when used for their normal and

  intended purpose. This is also evidenced by, among other things, TI’s informational and

  promotional materials described above, which describe the normal use and intended purpose of

  the TI Accused Products and demonstrate that the TI Accused Products are especially made or

  especially adapted for a use that infringes the ʼ818 patent.




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            TI’s Response: Denied.

            118.   On information and belief, as a result of TI’s inducement of, and/or contribution to,

  infringement, its customers and/or end users made, used, sold, offered for sale, or imported, and

  continue to make, use, sell, offer to sell, or import, TI’s products, including the TI Accused

  Products, in ways that directly infringe one or more claims of the ʼ818 patent, including claim 1.

  On information and belief, TI had actual knowledge of its customers’ and/or end users’ direct

  infringement at least by virtue of their sales, instruction, and/or otherwise promotion of TI’s

  products, including the TI Accused Products, at least as of the dates of knowledge of the ’818

  patent alleged above, and no later than the December 19, 2022 filing of NST’s Complaint. (Dkt.

  1.)

            TI’s Response: Denied.

            119.   On information and belief, with knowledge of the ʼ818 patent, TI has willfully,

  deliberately, and intentionally infringed the ʼ818 patent, at least as of the dates of knowledge of

  the ’818 patent alleged above, and no later than the December 19, 2022 filing of NST’s

  Complaint (Dkt. 1), and continues to willfully, deliberately, and intentionally infringe the ʼ818

  patent.    On information and belief, TI had actual knowledge of the ʼ818 patent and TI’s

  infringement of the ʼ818 patent at least as of the dates of knowledge of the ’818 patent alleged

  above, and no later than the December 19, 2022 filing of NST’s Complaint (Dkt. 1.). On

  information and belief, after acquiring that knowledge, TI continued to directly and indirectly

  infringe the ʼ818 patent as set forth above. On information and belief, TI knew or should have

  known that its conduct amounted to infringement of the ʼ818 patent at least because TI was aware

  of the ʼ818 patent and TI’s infringement of the ʼ818 patent at least as of the dates of knowledge of

  the ’818 patent alleged above, and no later than the December 19, 2022 filing of NST’s Complaint




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  (Dkt1. 1.).   TI was aware of its infringement by virtue of the ’818 patent’s fame in the

  semiconductor industry, TI’s expertise in the subject matter of the ’818 patent, TI’s technical

  competence to understand the scope of the ’818 patent, and TI’s intimate familiarity with its

  Accused Products. Additionally, TI was aware of the ʼ818 patent, and TI’s infringement of the

  ʼ818 patent, at least as of the December 19, 2022 filing of NST’s Complaint (Dkt. 1) because Plaintiff

  notified TI of such.

         TI’s Response: TI admits that the ’818 patent was listed in NST’s Complaint. TI denies

  all remaining allegations of this paragraph.

         120.    On information and belief, TI will continue to infringe the ʼ818 patent unless and

  until it is enjoined by this Court. TI, by way of its infringing activities, has caused and continues

  to cause Plaintiff to suffer damages in an amount to be determined, and has caused and is causing

  Plaintiff irreparable harm.     Plaintiff has no adequate remedy at law against TI’s acts of

  infringement and, unless TI is enjoined from its infringement of the ʼ818 patent, Plaintiff will

  continue to suffer irreparable harm.

         TI’s Response: Denied.

         121.    Plaintiff is entitled to recover from TI damages at least in an amount adequate to

  compensate for its infringement of the ʼ818 patent, which amount has yet to be determined,

  together with interest and costs fixed by the Court.

         TI’s Response: Denied.

         122.    On information and belief, Ford has made, used, offered for sale, sold, and/or

  imported products, including within this Judicial District, including at least the Ford Accused

  Products, that infringe, either literally or under the doctrine of equivalents, one or more claims of

  the ʼ818 patent in violation of 35 U.S.C. § 271(a), including claim 1. A comparison of claim 1 of




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  the ’818 patent to an exemplary product of the Ford Accused Products was attached as NST’s

  December 19, 2022 Complaint (Dkt. 1) as Exhibit 13, which is incorporated herein by

  reference.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, and to the extent the exhibit discusses TI products, TI denies that the exhibit

  accurately describes the TI Accused Products; denies that any of the TI Accused Products

  embodies or operates according to any claim of any Asserted Patent; denies that the exhibit

  demonstrates infringement of any Asserted Patent; and denies all allegations of patent

  infringement expressed or implied by the exhibit. TI lacks knowledge or information sufficient to

  admit or deny any remaining allegations expressed, implied, or incorporated by this paragraph or

  the exhibit and therefore denies them.

         123.    On information and belief, with knowledge of the ʼ818 patent, Ford has actively

  induced and continues to induce the direct infringement of one or more claims of the ʼ818 patent,

  including claim 1, in violation of 35 U.S.C. § 271(b), by its customers and/or end users of its

  products, including at least the Ford Accused Products, by selling, providing support for, providing

  instructions for use of, and/or otherwise encouraging its customers and/or end-users to directly

  infringe, either literally and/or under the doctrine of equivalents, one or more claims of the ʼ818

  patent, including claim 1, with the intent to encourage those customers and/or end users to infringe

  the ʼ818 patent.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the




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  allegations contained in this paragraph and therefore denies them.

            124.   By way of example, on information and belief, Ford actively induces infringement

  of the ʼ818 patent by encouraging, instructing, and aiding one or more persons in the United States,

  including but not limited to customers and/or end users who test, operate, and use Ford’s products,

  including at least the Ford Accused Products, to make, use, sell, offer to sell, and/or import Ford’s

  products, including at least the Ford Accused Products, in a manner that infringes at least one claim

  of the ʼ818 patent, including claim 1. For example, as described above, Ford actively markets,

  advertises, offers for sale, and/or otherwise promotes the Ford Accused Products by publishing

  and distributing data sheets, manuals, and guides for the Ford Accused Products. Therein, on

  information and belief, Ford describes and touts the use of the subject matter claimed in the ʼ818

  patent.

            TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

            125.   On information and belief, with knowledge of the ʼ818 patent, Ford also contributed

  to, and continues to contribute to, the infringement of one or more claims of the ʼ818 patent,

  including claim 1, in violation of 35 U.S.C. § 271(c), by offering to sell, selling, and/or importing

  the Ford Accused Products, knowing them to be especially made or especially adapted for

  practicing the inventions of the ’818 patent and not a staple article or commodity of commerce

  suitable for substantial non-infringing use. This is evidenced by, among other things, the design,

  configuration, and functionality of the Ford Accused Products, which are especially made or

  especially adapted for use in infringement of the ’818 patent when used for their normal and




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  intended purpose.    This is also evidenced by, among other things, Ford’s informational and

  promotional materials described above, which describe the normal use and intended purpose of

  the Ford Accused Products and demonstrate that the Ford Accused Products are especially made

  or especially adapted for a use that infringes the ʼ818 patent.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         126.    On information and belief, as a result of Ford’s inducement of, and/or contribution

  to, infringement, its customers and/or end users made, used, sold, offered for sale, or imported,

  and continue to make, use, sell, offer to sell, or import, Ford’s products, including the Ford

  Accused Products, in ways that directly infringe one or more claims of the ʼ818 patent, including

  claim 1. On information and belief, Ford had actual knowledge of its customers’ and/or end users’

  direct infringement at least by virtue of their sales, instruction, and/or otherwise promotion of

  Ford’s products, including the Ford Accused Products, at least as of the dates of knowledge of

  the’818 patent alleged above, and no later than the December 19, 2022 filing of NST’s Complaint.

  (Dkt. 1.)

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         127.    On information and belief, with knowledge of the ʼ818 patent, Ford has willfully,

  deliberately, and intentionally infringed the ʼ818 patent, at least as of the dates of knowledge of




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  the ’818 patent alleged above, and no later than the December 19, 2022 filing of NST’s

  Complaint (Dkt. 1), and continues to willfully, deliberately, and intentionally infringe the ʼ818

  patent. On information and belief, Ford had actual knowledge of the ʼ818 patent and Ford’s

  infringement of the ʼ818 patent at least as of the dates of knowledge of the ’818 patent alleged

  above, and no later than the December 19, 2022 filing of NST’s Complaint (Dkt. 1.). On

  information and belief, after acquiring that knowledge, Ford continued to directly and indirectly

  infringe the ʼ818 patent as set forth above. On information and belief, Ford knew or should have

  known that its conduct amounted to infringement of the ʼ818 patent at least because Ford was aware

  of the ʼ818 patent and Ford’s infringement of the ʼ818 patent at least as of the dates of knowledge

  of the ’818 patent alleged above, and no later than the December 19, 2022 filing of NST’s

  Complaint (Dkt. 1.). Ford was aware of its infringement by virtue of the ’818 patent’s fame

  in the semiconductor industry, Ford’s expertise in the subject matter of the ’818 patent, Ford’s

  technical competence to understand the scope of the ’818 patent, and Ford’s intimate familiarity

  with its Accused Products. Additionally, Ford was aware of the ʼ818 patent, and Ford’s

  infringement of the ʼ818 patent, at least as of the December 19, 2022 filing of NST’s Complaint

  (Dkt. 1) because Plaintiff notified Ford of such.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         128.    On information and belief, Ford will continue to infringe the ʼ818 patent unless and

  until it is enjoined by this Court. Ford, by way of its infringing activities, has caused and continues

  to cause Plaintiff to suffer damages in an amount to be determined, and has caused and is causing




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  Plaintiff irreparable harm.     Plaintiff has no adequate remedy at law against Ford’s acts of

  infringement and, unless Ford is enjoined from its infringement of the ʼ818 patent, Plaintiff will

  continue to suffer irreparable harm.

           TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

           129.   Plaintiff is entitled to recover from Ford damages at least in an amount adequate to

  compensate for its infringement of the ʼ818 patent, which amount has yet to be determined,

  together with interest and costs fixed by the Court.

           TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

                  COUNT II – INFRINGEMENT OF U.S. PATENT NO. 7,373,449

           130.   Plaintiff incorporates by reference the allegations contained in paragraphs 1 to 129

  above.

           TI Response: TI restates and incorporates by reference its answers to the foregoing

  paragraphs as if fully set forth herein.

           131.   On information and belief, TI has made, used, offered for sale, sold, and/or

  imported products, including within this Judicial District, including at least the TI Accused

  Products, that infringe, either literally or under the doctrine of equivalents, one or more claims of

  the ʼ449 patent in violation of 35 U.S.C. § 271(a), including claim 10. Comparison of claim 10 of




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  the ʼ449 patent to an exemplary product of the TI Accused Products was attached to NST’s

  December 19, 2022 Complaint (Dkt. 1) as Exhibit 8, which is incorporated herein by reference.

         TI’s Response: TI denies that the exhibit accurately describes the TI Accused Products;

  denies that any of the TI Accused Products embodies or operates according to any claim of any

  Asserted Patent; denies that the exhibit demonstrates infringement of any Asserted Patent; and

  denies all allegations of patent infringement expressed or implied by this paragraph or the exhibit.

  TI denies all remaining allegations expressed, implied, or incorporated by this paragraph.

         132.    On information and belief, with knowledge of the ʼ449 patent, TI has actively

  induced and continues to induce the direct infringement of one or more claims of the ʼ449 patent,

  including claim 10, in violation of 35 U.S.C. § 271(b), by its customers and/or end users of its

  products, including at least the TI Accused Products, by selling, providing support for, providing

  instructions for use of, and/or otherwise encouraging its customers and/or end-users to directly

  infringe, either literally and/or under the doctrine of equivalents, one or more claims of the ʼ449

  patent, including claim 10, with the intent to encourage those customers and/or end users to

  infringe the ʼ449 patent.

         TI’s Response: Denied.

         133.    By way of example, on information and belief, TI actively induces infringement

  of the ʼ449 patent by encouraging, instructing, and aiding one or more persons in the United States,

  including but not limited to customers and/or end users who test, operate, and use TI’s products,

  including at least the TI Accused Products, to make, use, sell, offer to sell, and/or import TI’s

  products, including at least the TI Accused Products, in a manner that infringes at least one claim

  of the ʼ449 patent, including claim 10. For example, as described above, TI actively markets,

  advertises, offers for sale, and/or otherwise promotes the TI Accused Products by publishing and




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  distributing data sheets, manuals, and guides for the TI Accused Products. Therein, on information

  and belief, TI describes and touts the use of the subject matter claimed in the ʼ449 patent.

         TI’s Response: TI denies that marketing, advertising, offering for sale, or promoting TI’s

  products induces infringement of any Asserted Patent. TI denies that publishing and distributing

  materials such as data sheets, manuals, and guides for TI’s products induces infringement of any

  Asserted Patent. TI denies all remaining allegations in this paragraph.

         134.    On information and belief, with knowledge of the ʼ449 patent, TI also contributed

  to, and continues to contribute to, the infringement of one or more claims of the ʼ449 patent,

  including claim 10, in violation of 35 U.S.C. § 271(c), by offering to sell, selling, and/or importing

  the TI Accused Products, knowing them to be especially made or especially adapted for practicing

  the inventions of the ʼ449 patent and not a staple article or commodity of commerce suitable for

  substantial non-infringing use. This is evidenced by, among other things, the design,

  configuration, and functionality of the TI Accused Products, which are especially made or

  especially adapted for use in infringement of the ʼ449 patent when used for their normal and

  intended purpose. This is also evidenced by, among other things, TI’s informational and

  promotional materials described above, which describe the normal use and intended purpose of

  the TI Accused Products and demonstrate that the TI Accused Products are especially made or

  especially adapted for a use that infringes the ʼ449 patent.

         TI’s Response: Denied.

         135.    On information and belief, as a result of TI’s inducement of, and/or contribution

  to, infringement, its customers and/or end users made, used, sold, offered for sale, or imported,

  and continue to make, use, sell, offer to sell, or import, TI’s products, including the TI Accused

  Products, in ways that directly infringe one or more claims of the ʼ449 patent, including claim 10.




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  On information and belief, TI had actual knowledge of its customers’ and/or end users’ direct

  infringement at least by virtue of their sales, instruction, and/or otherwise promotion of TI’s

  products, including the TI Accused Products, at least as of the dates of knowledge of the ’449

  patent alleged above, and no later than the December 19, 2022 filing of NST’s Complaint. (Dkt.

  1.)

         TI’s Response: Denied.

         136.    On information and belief, with knowledge of the ʼ449 patent, TI has willfully,

  deliberately, and intentionally infringed the ʼ449 patent, at least as of the dates of knowledge of

  the ’449 patent alleged above, and no later than the December 19, 2022 filing of NST’s Complaint

  (Dkt. 1), and continues to willfully, deliberately, and intentionally infringe the ʼ449 patent. On

  information and belief, TI had actual knowledge of the ʼ449 patent and TI’s infringement of the

  ʼ449 patent at least as of the dates of knowledge of the ’449 patent alleged above, and no later

  than the December 19, 2022 filing of NST’s Complaint (Dkt. 1.). On information and belief, after

  acquiring that knowledge, TI continued to directly and indirectly infringe the ʼ449 patent as set

  forth above. On information and belief, TI knew or should have known that its conduct amounted

  to infringement of the ʼ449 patent at least because TI was aware of the ʼ449 patent and TI’s

  infringement of the ʼ449 patent at least as of the dates of knowledge of the ’449 patent alleged

  above, and no later than the December 19, 2022 filing of NST’s Complaint. (Dkt. 1.) TI was aware

  of its infringement by virtue of the ’449 patent’s fame in the semiconductor industry, TI’s

  expertise in the subject matter of the ’449 patent, TI’s technical competence to understand the

  scope of the ’449 patent, and TI’s intimate familiarity with its Accused Products. Additionally, TI

  was aware of the ʼ449 patent, and TI’s infringement of the ʼ449 patent, at least as of the December

  19, 2022 filing of NST’s Complaint (Dkt. 1) because Plaintiff notified TI of such.




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         TI’s Response: TI admits that the ’449 patent was listed in NST’s Complaint. TI denies

  all remaining allegations of this paragraph.

         137.    On information and belief, TI will continue to infringe the ʼ449 patent unless and

  until it is enjoined by this Court. TI, by way of its infringing activities, has caused and continues

  to cause Plaintiff to suffer damages in an amount to be determined, and has caused and is causing

  Plaintiff irreparable harm. Plaintiff has no adequate remedy at law against TI’s acts of

  infringement and, unless TI is enjoined from its infringement of the ʼ449 patent, Plaintiff will

  continue to suffer irreparable harm.

         TI’s Response: Denied.

         138.    Plaintiff is entitled to recover from TI damages at least in an amount adequate to

  compensate for its infringement of the ʼ449 patent, which amount has yet to be determined,

  together with interest and costs fixed by the Court.

         TI’s Response: Denied.

         139.    On information and belief, Ford has made, used, offered for sale, sold, and/or

  imported products, including within this Judicial District, including at least the Ford Accused

  Products, that infringe, either literally or under the doctrine of equivalents, one or more claims of

  the ʼ449 patent in violation of 35 U.S.C. § 271(a), including claim 10. A comparison of claim 10

  of the ʼ449 patent to an exemplary product of the Ford Accused Products was attached to NST’s

  December 19, 2022 Complaint (Dkt. 1) as Exhibit 14, which is incorporated herein by reference.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, and to the extent the exhibit discusses TI products, TI denies that the exhibit

  accurately describes the TI Accused Products; denies that any of the TI Accused Products




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  embodies or operates according to any claim of any Asserted Patent; denies that the exhibit

  demonstrates infringement of any Asserted Patent; and denies all allegations of patent

  infringement expressed or implied by the exhibit. TI lacks knowledge or information sufficient to

  admit or deny any remaining allegations expressed, implied, or incorporated by this paragraph

  and therefore denies them.

         140.    On information and belief, with knowledge of the ʼ449 patent, Ford has actively

  induced and continues to induce the direct infringement of one or more claims of the ʼ449 patent,

  including claim 10, in violation of 35 U.S.C. § 271(b), by its customers and/or end users of its

  products, including at least the Ford Accused Products, by selling, providing support for,

  providing instructions for use of, and/or otherwise encouraging its customers and/or end-users to

  directly infringe, either literally and/or under the doctrine of equivalents, one or more claims of

  the ʼ449 patent, including claim 10, with the intent to encourage those customers and/or end users

  to infringe the ʼ449 patent.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         141.    By way of example, on information and belief, Ford actively induces infringement

  of the ʼ449 patent by encouraging, instructing, and aiding one or more persons in the United States,

  including but not limited to customers and/or end users who test, operate, and use Ford’s products,

  including at least the Ford Accused Products, to make, use, sell, offer to sell, and/or import Ford’s

  products, including at least the Ford Accused Products, in a manner that infringes at least one

  claim of the ʼ449 patent, including claim 10. For example, as described above, Ford actively




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  markets, advertises, offers for sale, and/or otherwise promotes the Ford Accused Products by

  publishing and distributing data sheets, manuals, and guides for the Ford Accused Products.

  Therein, on information and belief, Ford describes and touts the use of the subject matter claimed

  in the ʼ449 patent.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         142.    On information and belief, with knowledge of the ʼ449 patent, Ford also

  contributed to, and continues to contribute to, the infringement of one or more claims of the ʼ449

  patent, including claim 10, in violation of 35 U.S.C. § 271(c), by offering to sell, selling, and/or

  importing the Ford Accused Products, knowing them to be especially made or especially adapted

  for practicing the inventions of the ʼ449 patent and not a staple article or commodity of commerce

  suitable for substantial non-infringing use. This is evidenced by, among other things, the design,

  configuration, and functionality of the Ford Accused Products, which are especially made or

  especially adapted for use in infringement of the ʼ449 patent when used for their normal and

  intended purpose. This is also evidenced by, among other things, Ford’s informational and

  promotional materials described above, which describe the normal use and intended purpose of

  the Ford Accused Products and demonstrate that the Ford Accused Products are especially made

  or especially adapted for a use that infringes the ʼ449 patent.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the




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  allegations contained in this paragraph and therefore denies them.

         143.    On information and belief, as a result of Ford’s inducement of, and/or contribution

  to, infringement, its customers and/or end users made, used, sold, offered for sale, or imported,

  and continue to make, use, sell, offer to sell, or import, Ford’s products, including the Ford

  Accused Products, in ways that directly infringe one or more claims of the ʼ449 patent, including

  claim 10. On information and belief, Ford had actual knowledge of its customers’ and/or end

  users’ direct infringement at least by virtue of their sales, instruction, and/or otherwise promotion

  of Ford’s products, including the Ford Accused Products, at least as of the dates of knowledge of

  the ’449 patent alleged above, and no later than the December 19, 2022 filing of NST’s Complaint.

  (Dkt. 1.)

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         144.    On information and belief, with knowledge of the ʼ449 patent, Ford has willfully,

  deliberately, and intentionally infringed the ʼ449 patent, at least as of the dates of knowledge of

  the ’449 patent alleged above, and no later than the December 19, 2022 filing of NST’s Complaint

  (Dkt. 1), and continues to willfully, deliberately, and intentionally infringe the ʼ449 patent. On

  information and belief, Ford had actual knowledge of the ʼ449 patent and Ford’s infringement of

  the ʼ449 patent at least as of the dates of knowledge of the ’449 patent alleged above, and no later

  than the December 19, 2022 filing of NST’s Complaint (Dkt. 1.). On information and belief, after

  acquiring that knowledge, Ford continued to directly and indirectly infringe the ʼ449 patent as set

  forth above. On information and belief, Ford knew or should have known that its conduct




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  amounted to infringement of the ʼ449 patent at least because Ford was aware of the ʼ449 patent

  and Ford’s infringement of the ʼ449 patent at least as of the dates of knowledge of the ’449 patent

  alleged above, and no later than the December 19, 2022 filing of NST’s Complaint. (Dkt. 1.) Ford

  was aware of its infringement by virtue of the ’449 patent’s fame in the semiconductor industry,

  Ford’s expertise in the subject matter of the ’449 patent, Ford’s technical competence to

  understand the scope of the ’449 patent, and Ford’s intimate familiarity with its Accused Products.

  Additionally, Ford was aware of the ʼ449 patent, and Ford’s infringement of the ʼ449 patent, at

  least as of the December 19, 2022 filing of NST’s Complaint (Dkt. 1) because Plaintiff notified

  Ford of such.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         145.     On information and belief, Ford will continue to infringe the ʼ449 patent unless

  and until it is enjoined by this Court. Ford, by way of its infringing activities, has caused and

  continues to cause Plaintiff to suffer damages in an amount to be determined, and has caused and

  is causing Plaintiff irreparable harm. Plaintiff has no adequate remedy at law against Ford’s acts

  of infringement and, unless Ford is enjoined from its infringement of the ʼ449 patent, Plaintiff

  will continue to suffer irreparable harm.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.




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           146.    Plaintiff is entitled to recover from Ford damages at least in an amount adequate

  to compensate for its infringement of the ʼ449 patent, which amount has yet to be determined,

  together with interest and costs fixed by the Court.

           TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

                  COUNT III – INFRINGEMENT OF U.S. PATENT NO. 7,594,052

           147.    Plaintiff incorporates by reference the allegations contained in paragraphs 1 to 146

  above.

           TI Response: TI restates and incorporates by reference its answers to the foregoing

  paragraphs as if fully set forth herein.

           148.    On information and belief, TI has made, used, offered for sale, sold, and/or

  imported products, including within this Judicial District, including at least the TI Accused

  Products, that infringe, either literally or under the doctrine of equivalents, one or more claims of

  the ʼ052 patent in violation of 35 U.S.C. § 271(a), including claim 6. Comparison of claim 6 of

  the ʼ052 patent to an exemplary product of the TI Accused Products was attached to NST’s

  December 19, 2022 Complaint (Dkt. 1) as Exhibit 9, which is incorporated herein by reference.

           TI’s Response: TI denies that the exhibit accurately describes the TI Accused Products;

  denies that any of the TI Accused Products embodies or operates according to any claim of any

  Asserted Patent; denies that the exhibit demonstrates infringement of any Asserted Patent; and

  denies all allegations of patent infringement expressed or implied by this paragraph or the exhibit.

  TI denies all remaining allegations expressed, implied, or incorporated by this paragraph.




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         149.    On information and belief, with knowledge of the ʼ052 patent, TI has actively

  induced and continues to induce the direct infringement of one or more claims of the ʼ052 patent,

  including claim 6, in violation of 35 U.S.C. § 271(b), by its customers and/or end users of its

  products, including at least the TI Accused Products, by selling, providing support for, providing

  instructions for use of, and/or otherwise encouraging its customers and/or end-users to directly

  infringe, either literally and/or under the doctrine of equivalents, one or more claims of the ʼ052

  patent, including claim 6, with the intent to encourage those customers and/or end users to infringe

  the ʼ052 patent.

         TI’s Response: Denied.

         150.    By way of example, on information and belief, TI actively induces infringement

  of the ʼ052 patent by encouraging, instructing, and aiding one or more persons in the United States,

  including but not limited to customers and/or end users who test, operate, and use TI’s products,

  including at least the TI Accused Products, to make, use, sell, offer to sell, and/or import TI’s

  products, including at least the TI Accused Products, in a manner that infringes at least one claim

  of the ʼ052 patent, including claim 6. For example, as described above, TI actively markets,

  advertises, offers for sale, and/or otherwise promotes the TI Accused Products by publishing and

  distributing data sheets, manuals, and guides for the TI Accused Products. Therein, on information

  and belief, TI describes and touts the use of the subject matter claimed in the ʼ052 patent.

         TI’s Response: TI denies that marketing, advertising, offering for sale, or promoting TI’s

  products induces infringement of any Asserted Patent. TI denies that publishing and distributing

  materials such as data sheets, manuals, and guides for TI’s products induces infringement of any

  Asserted Patent. TI denies all remaining allegations in this paragraph.

         151.    On information and belief, with knowledge of the ʼ052 patent, TI also contributed




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  to, and continues to contribute to, the infringement of one or more claims of the ʼ052 patent,

  including claim 6, in violation of 35 U.S.C. § 271(c), by offering to sell, selling, and/or importing

  the TI Accused Products, knowing them to be especially made or especially adapted for practicing

  the inventions of the ʼ052 patent and not a staple article or commodity of commerce suitable for

  substantial non-infringing use. This is evidenced by, among other things, the design,

  configuration, and functionality of the TI Accused Products, which are especially made or

  especially adapted for use in infringement of the ʼ052 patent when used for their normal and

  intended purpose. This is also evidenced by, among other things, TI’s informational and

  promotional materials described above, which describe the normal use and intended purpose of

  the TI Accused Products and demonstrate that the TI Accused Products are especially made or

  especially adapted for a use that infringes the ʼ052 patent.

         TI’s Response: Denied.

         152.    On information and belief, as a result of TI’s inducement of, and/or contribution

  to, infringement, its customers and/or end users made, used, sold, offered for sale, or imported,

  and continue to make, use, sell, offer to sell, or import, TI’s products, including the TI Accused

  Products, in ways that directly infringe one or more claims of the ʼ052 patent, including claim 6.

  On information and belief, TI had actual knowledge of its customers’ and/or end users’ direct

  infringement at least by virtue of their sales, instruction, and/or otherwise promotion of TI’s

  products, including the TI Accused Products, at least as of the dates of knowledge of the ’052

  patent alleged above, and no later than the December 19, 2022 filing of NST’s Complaint. (Dkt.

  1.)

         TI’s Response: Denied.

         153.    On information and belief, with knowledge of the ʼ052 patent, TI has willfully,




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  deliberately, and intentionally infringed the ʼ052 patent, at least as of the dates of knowledge of

  the ’052 patent alleged above, and no later than the December 19, 2022 filing of NST’s Complaint

  (Dkt. 1), and continues to willfully, deliberately, and intentionally infringe the ʼ052 patent. On

  information and belief, TI had actual knowledge of the ʼ052 patent and TI’s infringement of the

  ʼ052 patent at least as of the dates of knowledge of the ’052 patent alleged above, and no later

  than the December 19, 2022 filing of NST’s Complaint (Dkt. 1.). On information and belief, after

  acquiring that knowledge, TI continued to directly and indirectly infringe the ʼ052 patent as set

  forth above. On information and belief, TI knew or should have known that its conduct amounted

  to infringement of the ʼ052 patent at least because TI was aware of the ʼ052 patent and TI’s

  infringement of the ʼ052 patent at least as of the dates of knowledge of the ’052 patent alleged

  above, and no later than the December 19, 2022 filing of NST’s Complaint (Dkt. 1.). TI was aware

  of its infringement by virtue of the ’052 patent’s fame in the semiconductor industry, TI’s

  expertise in the subject matter of the ’052 patent, TI’s technical competence to understand the

  scope of the ’052 patent, and TI’s intimate familiarity with its Accused Products. Additionally, TI

  was aware of the ʼ052 patent, and TI’s infringement of the ʼ052 patent, at least as of the December

  19, 2022 filing of NST’s Complaint (Dkt. 1) because Plaintiff notified TI of such.

         TI’s Response: TI admits that the ’052 patent was listed in NST’s Complaint. TI denies

  all remaining allegations of this paragraph.

         154.    On information and belief, TI will continue to infringe the ʼ052 patent unless and

  until it is enjoined by this Court. TI, by way of its infringing activities, has caused and continues

  to cause Plaintiff to suffer damages in an amount to be determined, and has caused and is causing

  Plaintiff irreparable harm. Plaintiff has no adequate remedy at law against TI’s acts of

  infringement and, unless TI is enjoined from its infringement of the ʼ052 patent, Plaintiff will




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  continue to suffer irreparable harm.

         TI’s Response: Denied.

         155.    Plaintiff is entitled to recover from TI damages at least in an amount adequate to

  compensate for its infringement of the ʼ052 patent, which amount has yet to be determined,

  together with interest and costs fixed by the Court.

         TI’s Response: Denied.

         156.    On information and belief, Ford has made, used, offered for sale, sold, and/or

  imported products, including within this Judicial District, including at least the Ford Accused

  Products, that infringe, either literally or under the doctrine of equivalents, one or more claims of

  the ʼ052 patent in violation of 35 U.S.C. § 271(a), including claim 6. A comparison of claim 6 of

  the ʼ052 patent to an exemplary product of the Ford Accused Products was attached to NST’s

  December 19, 2022 Complaint (Dkt. 1) as Exhibit 15, which is incorporated herein by reference.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, and to the extent the exhibit discusses TI products, TI denies that the exhibit

  accurately describes the TI Accused Products; denies that any of the TI Accused Products

  embodies or operates according to any claim of any Asserted Patent; denies that the exhibit

  demonstrates infringement of any Asserted Patent; and denies all allegations of patent

  infringement expressed or implied by the exhibit. TI lacks knowledge or information sufficient to

  admit or deny any remaining allegations expressed, implied, or incorporated by this paragraph

  and therefore denies them.

         157.    On information and belief, with knowledge of the ʼ052 patent, Ford has actively

  induced and continues to induce the direct infringement of one or more claims of the ʼ052 patent,




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  including claim 6, in violation of 35 U.S.C. § 271(b), by its customers and/or end users of its

  products, including at least the Ford Accused Products, by selling, providing support for,

  providing instructions for use of, and/or otherwise encouraging its customers and/or end-users to

  directly infringe, either literally and/or under the doctrine of equivalents, one or more claims of

  the ʼ052 patent, including claim 6, with the intent to encourage those customers and/or end users

  to infringe the ʼ052 patent.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         158.    By way of example, on information and belief, Ford actively induces infringement

  of the ʼ052 patent by encouraging, instructing, and aiding one or more persons in the United States,

  including but not limited to customers and/or end users who test, operate, and use Ford’s products,

  including at least the Ford Accused Products, to make, use, sell, offer to sell, and/or import Ford’s

  products, including at least the Ford Accused Products, in a manner that infringes at least one

  claim of the ʼ052 patent, including claim 6. For example, as described above, Ford actively

  markets, advertises, offers for sale, and/or otherwise promotes the Ford Accused Products by

  publishing and distributing data sheets, manuals, and guides for the Ford Accused Products.

  Therein, on information and belief, Ford describes and touts the use of the subject matter claimed

  in the ʼ052 patent.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the




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  allegations contained in this paragraph and therefore denies them.

         159.    On information and belief, with knowledge of the ʼ052 patent, Ford also

  contributed to, and continues to contribute to, the infringement of one or more claims of the ʼ052

  patent, including claim 6, in violation of 35 U.S.C. § 271(c), by offering to sell, selling, and/or

  importing the Ford Accused Products, knowing them to be especially made or especially adapted

  for practicing the inventions of the ʼ052 patent and not a staple article or commodity of commerce

  suitable for substantial non-infringing use. This is evidenced by, among other things, the design,

  configuration, and functionality of the Ford Accused Products, which are especially made or

  especially adapted for use in infringement of the ʼ052 patent when used for their normal and

  intended purpose. This is also evidenced by, among other things, Ford’s informational and

  promotional materials described above, which describe the normal use and intended purpose of

  the Ford Accused Products and demonstrate that the Ford Accused Products are especially made

  or especially adapted for a use that infringes the ʼ052 patent.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         160.    On information and belief, as a result of Ford’s inducement of, and/or contribution

  to, infringement, its customers and/or end users made, used, sold, offered for sale, or imported,

  and continue to make, use, sell, offer to sell, or import, Ford’s products, including the Ford

  Accused Products, in ways that directly infringe one or more claims of the ʼ052 patent, including

  claim 6. On information and belief, Ford had actual knowledge of its customers’ and/or end users’

  direct infringement at least by virtue of their sales, instruction, and/or otherwise promotion of




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  Ford’s products, including the Ford Accused Products, at least as of the dates of knowledge of the

  ’052 patent alleged above, and no later than the December 19, 2022 filing of NST’s Complaint.

  (Dkt. 1.)

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         161.    On information and belief, with knowledge of the ʼ052 patent, Ford has willfully,

  deliberately, and intentionally infringed the ʼ052 patent, at least as of the dates of knowledge of

  the ’052 patent alleged above, and no later than the December 19, 2022 filing of NST’s Complaint

  (Dkt. 1), and continues to willfully, deliberately, and intentionally infringe the ʼ052 patent. On

  information and belief, Ford had actual knowledge of the ʼ052 patent and Ford’s infringement of

  the ʼ052 patent at least as of the dates of knowledge of the ’052 patent alleged above, and no later

  than the December 19, 2022 filing of NST’s Complaint. (Dkt. 1.) On information and belief, after

  acquiring that knowledge, Ford continued to directly and indirectly infringe the ʼ052 patent as set

  forth above. On information and belief, Ford knew or should have known that its conduct

  amounted to infringement of the ʼ052 patent at least because Ford was aware of the ʼ052 patent

  and Ford’s infringement of the ʼ052 patent at least as of the dates of knowledge of the ’052 patent

  alleged above, and no later than the December 19, 2022 filing of NST’s Complaint. (Dkt. 1.) Ford

  was aware of its infringement by virtue of the ’052 patent’s fame in the semiconductor industry,

  Ford’s expertise in the subject matter of the ’052 patent, Ford’s technical competence to

  understand the scope of the ’052 patent, and Ford’s intimate familiarity with its Accused Products.

  Additionally, Ford was aware of the ʼ052 patent, and Ford’s infringement of the ʼ052 patent, at




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  least as of the December 19, 2022 filing of NST’s Complaint (Dkt. 1) because Plaintiff notified

  Ford of such.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         162.     On information and belief, Ford will continue to infringe the ʼ052 patent unless

  and until it is enjoined by this Court. Ford, by way of its infringing activities, has caused and

  continues to cause Plaintiff to suffer damages in an amount to be determined, and has caused and

  is causing Plaintiff irreparable harm. Plaintiff has no adequate remedy at law against Ford’s acts

  of infringement and, unless Ford is enjoined from its infringement of the ʼ052 patent, Plaintiff

  will continue to suffer irreparable harm.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         163.     Plaintiff is entitled to recover from Ford damages at least in an amount adequate

  to compensate for its infringement of the ʼ052 patent, which amount has yet to be determined,

  together with interest and costs fixed by the Court.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.




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                  COUNT IV – INFRINGEMENT OF U.S. PATENT NO. 7,769,893

           164.    Plaintiff incorporates by reference the allegations contained in paragraphs 1 to 163

  above.

           TI Response: TI restates and incorporates by reference its answers to the foregoing

  paragraphs as if fully set forth herein.

           165.    On information and belief, TI has made, used, offered for sale, sold, and/or

  imported products, including within this Judicial District, including at least the TI Accused

  Products, that infringe, either literally or under the doctrine of equivalents, one or more claims of

  the ʼ9893 patent in violation of 35 U.S.C. § 271(a), including claim 4. Comparison of claim 4 of

  the ʼ9893 patent to an exemplary product of the TI Accused Products was attached to NST’s

  December 19, 2022 Complaint (Dkt. 1) as Exhibit 10, which is incorporated herein by reference.

           TI’s Response: TI denies that the exhibit accurately describes the TI Accused Products;

  denies that any of the TI Accused Products embodies or operates according to any claim of any

  Asserted Patent; denies that the exhibit demonstrates infringement of any Asserted Patent; and

  denies all allegations of patent infringement expressed or implied by this paragraph or the exhibit.

  TI denies all remaining allegations expressed, implied, or incorporated by this paragraph.

           166.    On information and belief, with knowledge of the ʼ9893 patent, TI has actively

  induced and continues to induce the direct infringement of one or more claims of the ʼ9893 patent,

  including claim 4, in violation of 35 U.S.C. § 271(b), by its customers and/or end users of its

  products, including at least the TI Accused Products, by selling, providing support for, providing

  instructions for use of, and/or otherwise encouraging its customers and/or end-users to directly

  infringe, either literally and/or under the doctrine of equivalents, one or more claims of the ʼ9893

  patent, including claim 4, with the intent to encourage those customers and/or end users to infringe




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  the ʼ9893 patent.

         TI’s Response: Denied.

         167.    By way of example, on information and belief, TI actively induces infringement

  of the ʼ9893 patent by encouraging, instructing, and aiding one or more persons in the United

  States, including but not limited to customers and/or end users who test, operate, and use TI’s

  products, including at least the TI Accused Products, to make, use, sell, offer to sell, and/or import

  TI’s products, including at least the TI Accused Products, in a manner that infringes at least one

  claim of the ʼ9893 patent, including claim 4. For example, as described above, TI actively markets,

  advertises, offers for sale, and/or otherwise promotes the TI Accused Products by publishing and

  distributing data sheets, manuals, and guides for the TI Accused Products. Therein, on information

  and belief, TI describes and touts the use of the subject matter claimed in the ʼ9893 patent.

         TI’s Response: TI denies that marketing, advertising, offering for sale, or promoting TI’s

  products induces infringement of any Asserted Patent. TI denies that publishing and distributing

  materials such as data sheets, manuals, and guides for TI’s products induces infringement of any

  Asserted Patent. TI denies all remaining allegations in this paragraph.

         168.    On information and belief, with knowledge of the ʼ9893 patent, TI also contributed

  to, and continues to contribute to, the infringement of one or more claims of the ʼ9893 patent,

  including claim 4, in violation of 35 U.S.C. § 271(c), by offering to sell, selling, and/or importing

  the TI Accused Products, knowing them to be especially made or especially adapted for practicing

  the inventions of the ʼ9893 patent and not a staple article or commodity of commerce suitable for

  substantial non-infringing use. This is evidenced by, among other things, the design,

  configuration, and functionality of the TI Accused Products, which are especially made or

  especially adapted for use in infringement of the ʼ9893 patent when used for their normal and




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  intended purpose. This is also evidenced by, among other things, TI’s informational and

  promotional materials described above, which describe the normal use and intended purpose of

  the TI Accused Products and demonstrate that the TI Accused Products are especially made or

  especially adapted for a use that infringes the ʼ9893 patent.

         TI’s Response: Denied.

         169.    On information and belief, as a result of TI’s inducement of, and/or contribution

  to, infringement, its customers and/or end users made, used, sold, offered for sale, or imported,

  and continue to make, use, sell, offer to sell, or import, TI’s products, including the TI Accused

  Products, in ways that directly infringe one or more claims of the ʼ9893 patent, including claim 4.

  On information and belief, TI had actual knowledge of its customers’ and/or end users’ direct

  infringement at least by virtue of their sales, instruction, and/or otherwise promotion of TI’s

  products, including the TI Accused Products, at least as of the dates of knowledge of the ʼ9893

  patent alleged above, and no later than the December 19, 2022 filing of NST’s Complaint. (Dkt.

  1.)

         TI’s Response: Denied.

         170.    On information and belief, with knowledge of the ʼ9893 patent, TI has willfully,

  deliberately, and intentionally infringed the ʼ9893 patent, at least as of the dates of knowledge of

  the ʼ9893 patent alleged above, and no later than the December 19, 2022 filing of NST’s

  Complaint (Dkt. 1), and continues to willfully, deliberately, and intentionally infringe the ʼ9893

  patent. On information and belief, TI had actual knowledge of the ʼ9893 patent and TI’s

  infringement of the ʼ9893 patent at least as of the dates of knowledge of the ʼ9893 patent alleged

  above, and no later than the December 19, 2022 filing of NST’s Complaint. (Dkt. 1.) On

  information and belief, after acquiring that knowledge, TI continued to directly and indirectly




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  infringe the ʼ9893 patent as set forth above. On information and belief, TI knew or should have

  known that its conduct amounted to infringement of the ʼ9893 patent at least because TI was aware

  of the ʼ9893 patent and TI’s infringement of the ʼ9893 patent at least as of the dates of knowledge

  of the ʼ9893 patent alleged above, and no later than the December 19, 2022 filing of NST’s

  Complaint. (Dkt. 1.) TI was aware of its infringement by virtue of the ’9893 patent’s fame in the

  semiconductor industry, TI’s expertise in the subject matter of the ’9893 patent, TI’s technical

  competence to understand the scope of the ’9893 patent, and TI’s intimate familiarity with its

  Accused Products. Additionally, TI was aware of the ʼ9893 patent, and TI’s infringement of the

  ʼ9893 patent, at least as of the December 19, 2022 filing of NST’s Complaint (Dkt. 1) because

  Plaintiff notified TI of such.

         TI’s Response: TI admits that the ’9893 patent was listed in NST’s Complaint. TI denies

  all remaining allegations of this paragraph.

         171.    On information and belief, TI will continue to infringe the ʼ9893 patent unless and

  until it is enjoined by this Court. TI, by way of its infringing activities, has caused and continues

  to cause Plaintiff to suffer damages in an amount to be determined, and has caused and is causing

  Plaintiff irreparable harm. Plaintiff has no adequate remedy at law against TI’s acts of

  infringement and, unless TI is enjoined from its infringement of the ʼ9893 patent, Plaintiff will

  continue to suffer irreparable harm.

         TI’s Response: Denied.

         172.    Plaintiff is entitled to recover from TI damages at least in an amount adequate to

  compensate for its infringement of the ʼ9893 patent, which amount has yet to be determined,

  together with interest and costs fixed by the Court.

         TI’s Response: Denied.




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         173.    On information and belief, Ford has made, used, offered for sale, sold, and/or

  imported products, including within this Judicial District, including at least the Ford Accused

  Products, that infringe, either literally or under the doctrine of equivalents, one or more claims of

  the ʼ9893 patent in violation of 35 U.S.C. § 271(a), including claim 4. A comparison of claim 4

  of the ʼ9893 patent to an exemplary product of the Ford Accused Products was attached to NST’s

  December 19, 2022 Complaint (Dkt. 1) as Exhibit 16, which is incorporated herein by reference.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, and to the extent the exhibit discusses TI products, TI denies that the exhibit

  accurately describes the TI Accused Products; denies that any of the TI Accused Products

  embodies or operates according to any claim of any Asserted Patent; denies that the exhibit

  demonstrates infringement of any Asserted Patent; and denies all allegations of patent infringement

  expressed or implied by the exhibit. TI lacks knowledge or information sufficient to admit or deny

  any remaining allegations expressed, implied, or incorporated by this paragraph and therefore

  denies them.

         174.    On information and belief, with knowledge of the ʼ9893 patent, Ford has actively

  induced and continues to induce the direct infringement of one or more claims of the ʼ9893 patent,

  including claim 4, in violation of 35 U.S.C. § 271(b), by its customers and/or end users of its

  products, including at least the Ford Accused Products, by selling, providing support for,

  providing instructions for use of, and/or otherwise encouraging its customers and/or end-users to

  directly infringe, either literally and/or under the doctrine of equivalents, one or more claims of

  the ʼ9893 patent, including claim 4, with the intent to encourage those customers and/or end users

  to infringe the ʼ9893 patent.




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         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         175.    By way of example, on information and belief, Ford actively induces infringement

  of the ʼ9893 patent by encouraging, instructing, and aiding one or more persons in the United

  States, including but not limited to customers and/or end users who test, operate, and use Ford’s

  products, including at least the Ford Accused Products, to make, use, sell, offer to sell, and/or

  import Ford’s products, including at least the Ford Accused Products, in a manner that infringes

  at least one claim of the ʼ9893 patent, including claim 4. For example, as described above, Ford

  actively markets, advertises, offers for sale, and/or otherwise promotes the Ford Accused Products

  by publishing and distributing data sheets, manuals, and guides for the Ford Accused Products.

  Therein, on information and belief, Ford describes and touts the use of the subject matter claimed

  in the ʼ9893 patent.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         176.    On information and belief, with knowledge of the ʼ9893 patent, Ford also

  contributed to, and continues to contribute to, the infringement of one or more claims of the ʼ9893

  patent, including claim 4, in violation of 35 U.S.C. § 271(c), by offering to sell, selling, and/or

  importing the Ford Accused Products, knowing them to be especially made or especially adapted

  for practicing the inventions of the ʼ9893 patent and not a staple article or commodity of




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  commerce suitable for substantial non-infringing use. This is evidenced by, among other things,

  the design, configuration, and functionality of the Ford Accused Products, which are especially

  made or especially adapted for use in infringement of the ʼ9893 patent when used for their normal

  and intended purpose. This is also evidenced by, among other things, Ford’s informational and

  promotional materials described above, which describe the normal use and intended purpose of

  the Ford Accused Products and demonstrate that the Ford Accused Products are especially made

  or especially adapted for a use that infringes the ʼ9893 patent.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         177.    On information and belief, as a result of Ford’s inducement of, and/or contribution

  to, infringement, its customers and/or end users made, used, sold, offered for sale, or imported,

  and continue to make, use, sell, offer to sell, or import, Ford’s products, including the Ford

  Accused Products, in ways that directly infringe one or more claims of the ʼ9893 patent, including

  claim 4. On information and belief, Ford had actual knowledge of its customers’ and/or end users’

  direct infringement at least by virtue of their sales, instruction, and/or otherwise promotion of

  Ford’s products, including the Ford Accused Products, at least as of the dates of knowledge of the

  ʼ9893 patent alleged above, and no later than the December 19, 2022 filing of NST’s Complaint.

  (Dkt. 1.)

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the




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  allegations contained in this paragraph and therefore denies them.

         178.    On information and belief, with knowledge of the ʼ9893 patent, Ford has willfully,

  deliberately, and intentionally infringed the ʼ9893 patent, at least as of the dates of knowledge of

  the ʼ9893 patent alleged above, and no later than the December 19, 2022 filing of NST’s

  Complaint (Dkt. 1), and continues to willfully, deliberately, and intentionally infringe the ʼ9893

  patent. On information and belief, Ford had actual knowledge of the ʼ9893 patent and Ford’s

  infringement of the ʼ9893 patent at least as of the dates of knowledge of the ʼ9893 patent alleged

  above, and no later than the December 19, 2022 filing of NST’s Complaint. (Dkt. 1.) On

  information and belief, after acquiring that knowledge, Ford continued to directly and indirectly

  infringe the ʼ9893 patent as set forth above. On information and belief, Ford knew or should have

  known that its conduct amounted to infringement of the ʼ9893 patent at least because Ford was

  aware of the ʼ9893 patent and Ford’s infringement of the ʼ9893 patent at least as of the dates of

  knowledge of the ʼ9893 patent alleged above, and no later than the December 19, 2022 filing of

  NST’s Complaint. (Dkt. 1.) Ford was aware of its infringement by virtue of the ’9893 patent’s

  fame in the semiconductor industry, Ford’s expertise in the subject matter of the ’9893 patent,

  Ford’s technical competence to understand the scope of the ’9893 patent, and Ford’s intimate

  familiarity with its Accused Products. Additionally, Ford was aware of the ʼ9893 patent, and

  Ford’s infringement of the ʼ9893 patent, at least as of the December 19, 2022 filing of NST’s

  Complaint (Dkt. 1) because Plaintiff notified Ford of such.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.




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           179.   On information and belief, Ford will continue to infringe the ʼ9893 patent unless

  and until it is enjoined by this Court. Ford, by way of its infringing activities, has caused and

  continues to cause Plaintiff to suffer damages in an amount to be determined, and has caused and

  is causing Plaintiff irreparable harm. Plaintiff has no adequate remedy at law against Ford’s acts

  of infringement and, unless Ford is enjoined from its infringement of the ʼ9893 patent, Plaintiff

  will continue to suffer irreparable harm.

           TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

           180.   Plaintiff is entitled to recover from Ford damages at least in an amount adequate

  to compensate for its infringement of the ʼ9893 patent, which amount has yet to be determined,

  together with interest and costs fixed by the Court.

           TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

                  COUNT V – INFRINGEMENT OF U.S. PATENT NO. 8,072,893

           181.   Plaintiff incorporates by reference the allegations contained in paragraphs 1 to 180

  above.

           TI Response: TI restates and incorporates by reference its answers to the foregoing

  paragraphs as if fully set forth herein

           182.   On information and belief, TI has made, used, offered for sale, sold, and/or




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  imported products, including within this Judicial District, including at least the TI Accused

  Products, made or designed by processes that infringe, either literally or under the doctrine of

  equivalents, one or more claims of the ʼ2893 patent in violation of 35 U.S.C. § 271(a) and/or §

  271(g), including claim 10. Comparison of claim 10 of the ʼ2893 patent to an exemplary product

  of the TI Accused Products made or designed by infringing processes was attached to NST’s

  December 19, 2022 Complaint (Dkt. 1) as Exhibit 11, which is incorporated herein by reference.

            TI’s Response: TI denies that the exhibit accurately describes the TI Accused Products;

  denies that any of the TI Accused Products embodies or operates according to any claim of any

  Asserted Patent; denies that the exhibit demonstrates infringement of any Asserted Patent; and

  denies all allegations of patent infringement expressed or implied by this paragraph or the exhibit.

  TI denies all remaining allegations expressed, implied, or incorporated by this paragraph.

            183.   On information and belief, with knowledge of the ʼ2893 patent, TI has actively

  induced and continues to induce the direct infringement of one or more claims of the ʼ2893 patent,

  including claim 10, in violation of 35 U.S.C. § 271(b), by its suppliers, customers, and/or end

  users of its products, including at least the TI Accused Products, by selling, designing, providing

  support for, providing designs and/or specifications for, providing instructions for use of, and/or

  otherwise encouraging its suppliers, customers, and/or end-users to directly infringe, either

  literally and/or under the doctrine of equivalents, one or more claims of the ʼ2893 patent, including

  claim 10, with the intent to encourage those customers and/or end users to infringe the ʼ2893

  patent.

            TI’s Response: Denied.

            184.   By way of example, on information and belief, TI actively induces infringement

  of the ʼ2893 patent by encouraging, instructing, and aiding one or more persons in the United




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  States, including but not limited to suppliers who supply and/or design components (for example,

  semiconductor IPs) of, test, operate, and/or use TI’s products, including at least the TI Accused

  Products or components thereof (for example, semiconductor IPs), to make, use, sell, offer to sell,

  and/or import TI’s products, including at least the TI Accused Products or components thereof

  (for example, semiconductor IPs), in a manner that infringes at least one claim of the ʼ2893 patent,

  including claim 10. For example, as described above, TI actively markets, advertises, offers for

  sale, and/or otherwise promotes the TI Accused Products by publishing and distributing data

  sheets, manuals, and guides for the TI Accused Products. Additionally, on information and belief,

  TI provides its suppliers with specifications and/or designs for components, including by way of

  example, semiconductor IPs, for the TI Accused Products. Therein, TI describes, encourages, and

  touts the use of the subject matter claimed in the ʼ2893 patent.

         TI’s Response: TI denies that marketing, advertising, offering for sale, or promoting TI’s

  products induces infringement of any Asserted Patent. TI denies that publishing and distributing

  materials such as data sheets, manuals, and guides for TI’s products induces infringement of any

  Asserted Patent. TI denies all remaining allegations in this paragraph.

         185.    On information and belief, with knowledge of the ʼ2893 patent, TI also contributed

  to, and continues to contribute to, the infringement of one or more claims of the ʼ2893 patent,

  including claim 10, in violation of 35 U.S.C. § 271(c), by providing specifications and/or designs

  for the TI Accused Products or components thereof (for example, semiconductor IPs), knowing

  them to be especially made or especially adapted for practicing the inventions of the ʼ2893 patent

  and not a staple article or commodity of commerce suitable for substantial non-infringing use.

  This is evidenced by, among other things, the design, configuration, and functionality of the

  specifications and/or designs for TI Accused Products or components thereof (for example,




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  semiconductor IPs), which are especially made or especially adapted for use in infringement of

  the ʼ2893 patent when used for their normal and intended purpose. This is also evidenced by,

  among other things, the normal use and intended purpose of the specifications and/or designs for

  the TI Accused Products or components thereof (for example, semiconductor IPs), which

  demonstrate that the specifications and/or designs for the TI Accused Products or components

  thereof (for example, semiconductor IPs) are especially made or especially adapted for a use that

  infringes the ʼ2893 patent.

         TI’s Response: Denied.

         186.    On information and belief, as a result of TI’s inducement of, and/or contribution

  to, infringement, its suppliers, customers, and/or end users designed, made, used, sold, offered for

  sale, or imported, and continue to make, use, sell, offer to sell, or import, TI’s products or

  components thereof (for example, semiconductor IPs), including the TI Accused Products, in

  ways that directly infringe one or more claims of the ʼ2893 patent, including claim 10. On

  information and belief, TI had actual knowledge of its suppliers’, customers’, and/or end users’

  direct infringement at least by virtue of their sales, instruction, and/or otherwise promotion of TI’s

  products, including the TI Accused Products or components thereof (for example, semiconductor

  IPs), at least as of the dates of knowledge of the ʼ2893 patent alleged above, and no later than the

  December 19, 2022 filing of NST’s Complaint. (Dkt. 1.)

         TI’s Response: Denied.

         187.    On information and belief, with knowledge of the ʼ2893 patent, TI has willfully,

  deliberately, and intentionally infringed the ʼ2893 patent, at least as of the dates of knowledge of

  the ʼ2893 patent alleged above, and no later than the December 19, 2022 filing of NST’s

  Complaint (Dkt. 1), and continues to willfully, deliberately, and intentionally infringe the ʼ2893




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  patent. On information and belief, TI had actual knowledge of the ʼ2893 patent and TI’s

  infringement of the ʼ2893 patent at least as of the dates of knowledge of the ʼ2893 patent alleged

  above, and no later than the December 19, 2022 filing of NST’s Complaint. (Dkt. 1.) On

  information and belief, after acquiring that knowledge, TI continued to directly and indirectly

  infringe the ʼ2893 patent as set forth above. On information and belief, TI knew or should have

  known that its conduct amounted to infringement of the ʼ2893 patent at least because TI was aware

  of the ʼ2893 patent and TI’s infringement of the ʼ2893 patent at least as of the dates of knowledge

  of the ʼ2893 patent alleged above, and no later than the December 19, 2022 filing of NST’s

  Complaint. (Dkt. 1.) TI was aware of its infringement by virtue of the ’2893 patent’s fame in the

  semiconductor industry, TI’s expertise in the subject matter of the ’2893 patent, TI’s technical

  competence to understand the scope of the ’2893 patent, and TI’s intimate familiarity with its

  Accused Products. Additionally, TI was aware of the ʼ2893 patent, and TI’s infringement of the

  ʼ2893 patent, at least as of the December 19, 2022 filing of NST’s Complaint (Dkt. 1) because

  Plaintiff notified TI of such.

         TI’s Response: TI admits that the ’2893 patent was listed in NST’s Complaint. TI denies

  all remaining allegations of this paragraph.

         188.    On information and belief, TI will continue to infringe the ʼ2893 patent unless and

  until it is enjoined by this Court. TI, by way of its infringing activities, has caused and continues

  to cause Plaintiff to suffer damages in an amount to be determined, and has caused and is causing

  Plaintiff irreparable harm. Plaintiff has no adequate remedy at law against TI’s acts of

  infringement and, unless TI is enjoined from its infringement of the ʼ2893 patent, Plaintiff will

  continue to suffer irreparable harm.

         TI’s Response: Denied.




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         189.    Plaintiff is entitled to recover from TI damages at least in an amount adequate to

  compensate for its infringement of the ʼ2893 patent, which amount has yet to be determined,

  together with interest and costs fixed by the Court.

         TI’s Response: Denied.

         190.    On information and belief, Ford has made, used, offered for sale, sold, and/or

  imported products, including within this Judicial District, including at least the Ford Accused

  Products, that infringe, either literally or under the doctrine of equivalents, one or more claims of

  the ʼ2893 patent in violation of 35 U.S.C. § 271(a), including claim 1. A comparison of claim 1

  of the ʼ2893 patent to an exemplary product of the Ford Accused Products was attached to NST’s

  December 19, 2022 Complaint (Dkt. 1) as Exhibit 17, which is incorporated herein by reference.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, and to the extent the exhibit discusses TI products, TI denies that the exhibit

  accurately describes the TI Accused Products; denies that any of the TI Accused Products

  embodies or operates according to any claim of any Asserted Patent; denies that the exhibit

  demonstrates infringement of any Asserted Patent; and denies all allegations of patent

  infringement expressed or implied by the exhibit. TI lacks knowledge or information sufficient to

  admit or deny any remaining allegations expressed, implied, or incorporated by this paragraph

  and therefore denies them.

         191.    On information and belief, with knowledge of the ʼ2893 patent, Ford has actively

  induced and continues to induce the direct infringement of one or more claims of the ʼ2893 patent,

  including claim 1, in violation of 35 U.S.C. § 271(b), by its customers and/or end users of its

  products, including at least the Ford Accused Products, by selling, providing support for,




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  providing instructions for use of, and/or otherwise encouraging its customers and/or end-users to

  directly infringe, either literally and/or under the doctrine of equivalents, one or more claims of

  the ʼ2893 patent, including claim 1, with the intent to encourage those customers and/or end users

  to infringe the ʼ2893 patent.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         192.    By way of example, on information and belief, Ford actively induces infringement

  of the ʼ2893 patent by encouraging, instructing, and aiding one or more persons in the United

  States, including but not limited to customers and/or end users who test, operate, and use Ford’s

  products, including at least the Ford Accused Products, to make, use, sell, offer to sell, and/or

  import Ford’s products, including at least the Ford Accused Products, in a manner that infringes

  at least one claim of the ʼ2893 patent, including claim 1. For example, as described above, Ford

  actively markets, advertises, offers for sale, and/or otherwise promotes the Ford Accused Products

  by publishing and distributing data sheets, manuals, and guides for the Ford Accused Products.

  Therein, on information and belief, Ford describes and touts the use of the subject matter claimed

  in the ʼ2893 patent.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         193.    On information and belief, with knowledge of the ʼ2893 patent, Ford also




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  contributed to, and continues to contribute to, the infringement of one or more claims of the ʼ2893

  patent, including claim 1, in violation of 35 U.S.C. § 271(c), by offering to sell, selling, and/or

  importing the Ford Accused Products, knowing them to be especially made or especially adapted

  for practicing the inventions of the ʼ2893 patent and not a staple article or commodity of

  commerce suitable for substantial non-infringing use. This is evidenced by, among other things,

  the design, configuration, and functionality of the Ford Accused Products, which are especially

  made or especially adapted for use in infringement of the ʼ2893 patent when used for their normal

  and intended purpose. This is also evidenced by, among other things, Ford’s informational and

  promotional materials described above, which describe the normal use and intended purpose of

  the Ford Accused Products and demonstrate that the Ford Accused Products are especially made

  or especially adapted for a use that infringes the ʼ2893 patent.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         194.    On information and belief, as a result of Ford’s inducement of, and/or contribution

  to, infringement, its customers and/or end users made, used, sold, offered for sale, or imported,

  and continue to make, use, sell, offer to sell, or import, Ford’s products, including the Ford

  Accused Products, in ways that directly infringe one or more claims of the ʼ2893 patent, including

  claim 1. On information and belief, Ford had actual knowledge of its customers’ and/or end users’

  direct infringement at least by virtue of their sales, instruction, and/or otherwise promotion of

  Ford’s products, including the Ford Accused Products, at least as of the dates of knowledge of the

  ʼ2893 patent alleged above, and no later than the December 19, 2022 filing of NST’s Complaint.




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  (Dkt. 1.)

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         195.    On information and belief, with knowledge of the ʼ2893 patent, Ford has willfully,

  deliberately, and intentionally infringed the ʼ2893 patent, at least as of the dates of knowledge of

  the ʼ2893 patent alleged above, and no later than the December 19, 2022 filing of NST’s

  Complaint (Dkt. 1), and continues to willfully, deliberately, and intentionally infringe the ʼ2893

  patent. On information and belief, Ford had actual knowledge of the ʼ2893 patent and Ford’s

  infringement of the ʼ2893 patent at least as of the dates of knowledge of the ʼ2893 patent alleged

  above, and no later than the December 19, 2022 filing of NST’s Complaint. (Dkt. 1.) On

  information and belief, after acquiring that knowledge, Ford continued to directly and indirectly

  infringe the ʼ2893 patent as set forth above. On information and belief, Ford knew or should have

  known that its conduct amounted to infringement of the ʼ2893 patent at least because Ford was

  aware of the ʼ2893 patent and Ford’s infringement of the ʼ2893 patent at least as of the dates of

  knowledge of the ʼ2893 patent alleged above, and no later than the December 19, 2022 filing of

  NST’s Complaint. (Dkt. 1.) Ford was aware of its infringement by virtue of the ’2893 patent’s

  fame in the semiconductor industry, Ford’s expertise in the subject matter of the ’2893 patent,

  Ford’s technical competence to understand the scope of the ’2893 patent, and Ford’s intimate

  familiarity with its Accused Products. Additionally, Ford was aware of the ʼ2893 patent, and

  Ford’s infringement of the ʼ2893 patent, at least as of the December 19, 2022 filing of NST’s

  Complaint (Dkt. 1) because Plaintiff notified Ford of such.




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         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         196.    On information and belief, Ford will continue to infringe the ʼ2893 patent unless

  and until it is enjoined by this Court. Ford, by way of its infringing activities, has caused and

  continues to cause Plaintiff to suffer damages in an amount to be determined, and has caused and

  is causing Plaintiff irreparable harm. Plaintiff has no adequate remedy at law against Ford’s acts

  of infringement and, unless Ford is enjoined from its infringement of the ʼ2893 patent, Plaintiff

  will continue to suffer irreparable harm.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         197.    Plaintiff is entitled to recover from Ford damages at least in an amount adequate

  to compensate for its infringement of the ʼ2893 patent, which amount has yet to be determined,

  together with interest and costs fixed by the Court.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

                COUNT VI – INFRINGEMENT OF U.S. PATENT NO. 8,086,800

         198.    Plaintiff incorporates by reference the allegations contained in paragraphs 1 to 197




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  above.

           TI Response: TI restates and incorporates by reference its answers to the foregoing

  paragraphs as if fully set forth herein.

           199.   On information and belief, TI has made, used, offered for sale, sold, and/or

  imported products, including within this Judicial District, including at least the TI Accused

  Products, that infringe, either literally or under the doctrine of equivalents, one or more claims of

  the ʼ800 patent in violation of 35 U.S.C. § 271(a), including claim 10. Comparison of claim 10 of

  the ʼ800 patent to an exemplary product of the TI Accused Products was attached to NST’s

  December 19, 2022 Complaint (Dkt. 1) as Exhibit 12, which is incorporated herein by reference.

           TI’s Response: TI denies that the exhibit accurately describes the TI Accused Products;

  denies that any of the TI Accused Products embodies or operates according to any claim of any

  Asserted Patent; denies that the exhibit demonstrates infringement of any Asserted Patent; and

  denies all allegations of patent infringement expressed or implied by this paragraph or the exhibit.

  TI denies all remaining allegations expressed, implied, or incorporated by this paragraph.

           200.   On information and belief, with knowledge of the ʼ800 patent, TI has actively

  induced and continues to induce the direct infringement of one or more claims of the ʼ800 patent,

  including claim 10, in violation of 35 U.S.C. § 271(b), by its customers and/or end users of its

  products, including at least the TI Accused Products, by selling, providing support for, providing

  instructions for use of, and/or otherwise encouraging its customers and/or end-users to directly

  infringe, either literally and/or under the doctrine of equivalents, one or more claims of the ʼ800

  patent, including claim 10, with the intent to encourage those customers and/or end users to

  infringe the ʼ800 patent.

           TI’s Response: Denied.




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         201.    By way of example, on information and belief, TI actively induces infringement

  of the ʼ800 patent by encouraging, instructing, and aiding one or more persons in the United States,

  including but not limited to customers and/or end users who test, operate, and use TI’s products,

  including at least the TI Accused Products, to make, use, sell, offer to sell, and/or import TI’s

  products, including at least the TI Accused Products, in a manner that infringes at least one claim

  of the ʼ800 patent, including claim 10. For example, as described above, TI actively markets,

  advertises, offers for sale, and/or otherwise promotes the TI Accused Products by publishing and

  distributing data sheets, manuals, and guides for the TI Accused Products. Therein, on information

  and belief, TI describes and touts the use of the subject matter claimed in the ʼ800 patent.

         TI’s Response: TI denies that marketing, advertising, offering for sale, or promoting TI’s

  products induces infringement of any Asserted Patent. TI denies that publishing and distributing

  materials such as data sheets, manuals, and guides for TI’s products induces infringement of any

  Asserted Patent. TI denies all remaining allegations in this paragraph.

         202.    On information and belief, with knowledge of the ʼ800 patent, TI also contributed

  to, and continues to contribute to, the infringement of one or more claims of the ʼ800 patent,

  including claim 10, in violation of 35 U.S.C. § 271(c), by offering to sell, selling, and/or importing

  the TI Accused Products, knowing them to be especially made or especially adapted for practicing

  the inventions of the ʼ800 patent and not a staple article or commodity of commerce suitable for

  substantial non-infringing use. This is evidenced by, among other things, the design,

  configuration, and functionality of the TI Accused Products, which are especially made or

  especially adapted for use in infringement of the ʼ800 patent when used for their normal and

  intended purpose. This is also evidenced by, among other things, TI’s informational and

  promotional materials described above, which describe the normal use and intended purpose of




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  the TI Accused Products and demonstrate that the TI Accused Products are especially made or

  especially adapted for a use that infringes the ʼ800 patent.

         TI’s Response: Denied.

         203.    On information and belief, as a result of TI’s inducement of, and/or contribution

  to, infringement, its customers and/or end users made, used, sold, offered for sale, or imported,

  and continue to make, use, sell, offer to sell, or import, TI’s products, including the TI Accused

  Products, in ways that directly infringe one or more claims of the ʼ800 patent, including claim 10.

  On information and belief, TI had actual knowledge of its customers’ and/or end users’ direct

  infringement at least by virtue of their sales, instruction, and/or otherwise promotion of TI’s

  products, including the TI Accused Products, at least as of the dates of knowledge of the ʼ800

  patent alleged above, and no later than the December 19, 2022 filing of NST’s Complaint. (Dkt.

  1.)

         TI’s Response: Denied.

         204.    On information and belief, with knowledge of the ʼ800 patent, TI has willfully,

  deliberately, and intentionally infringed the ʼ800 patent, at least as of the dates of knowledge of

  the ʼ800 patent alleged above, and no later than the December 19, 2022 filing of NST’s Complaint

  (Dkt. 1), and continues to willfully, deliberately, and intentionally infringe the ʼ800 patent. On

  information and belief, TI had actual knowledge of the ʼ800 patent and TI’s infringement of the

  ʼ800 patent at least as of the dates of knowledge of the ʼ800 patent alleged above, and no later

  than the December 19, 2022 filing of NST’s Complaint. (Dkt. 1.) On information and belief, after

  acquiring that knowledge, TI continued to directly and indirectly infringe the ʼ800 patent as set

  forth above. On information and belief, TI knew or should have known that its conduct amounted

  to infringement of the ʼ800 patent at least because TI was aware of the ʼ800 patent and TI’s




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  infringement of the ʼ800 patent at least as of the dates of knowledge of the ʼ800 patent alleged

  above, and no later than the December 19, 2022 filing of NST’s Complaint. (Dkt. 1.) TI was aware

  of its infringement by virtue of the ’800 patent’s fame in the semiconductor industry, TI’s

  expertise in the subject matter of the ’800 patent, TI’s technical competence to understand the

  scope of the ’800 patent, and TI’s intimate familiarity with its Accused Products. Additionally, TI

  was aware of the ʼ800 patent, and TI’s infringement of the ʼ800 patent, at least as of the December

  19, 2022 filing of NST’s Complaint (Dkt. 1) because Plaintiff notified TI of such.

         TI’s Response: TI admits that the ’800 patent was listed in NST’s Complaint. TI denies

  all remaining allegations of this paragraph.

         205.    On information and belief, TI will continue to infringe the ʼ800 patent unless and

  until it is enjoined by this Court. TI, by way of its infringing activities, has caused and continues

  to cause Plaintiff to suffer damages in an amount to be determined, and has caused and is causing

  Plaintiff irreparable harm. Plaintiff has no adequate remedy at law against TI’s acts of

  infringement and, unless TI is enjoined from its infringement of the ʼ800 patent, Plaintiff will

  continue to suffer irreparable harm.

         TI’s Response: Denied.

         206.    Plaintiff is entitled to recover from TI damages at least in an amount adequate to

  compensate for its infringement of the ʼ800 patent, which amount has yet to be determined,

  together with interest and costs fixed by the Court.

         TI’s Response: Denied.

         207.    On information and belief, Ford has made, used, offered for sale, sold, and/or

  imported products, including within this Judicial District, including at least the Ford Accused

  Products, that infringe, either literally or under the doctrine of equivalents, one or more claims of




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  the ʼ800 patent in violation of 35 U.S.C. § 271(a), including claim 10. A comparison of claim 10

  of the ʼ800 patent to an exemplary product of the Ford Accused Products was attached to NST’s

  December 19, 2022 Complaint (Dkt. 1) as Exhibit 18, which is incorporated herein by reference.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, and to the extent the exhibit discusses TI products, TI denies that the exhibit

  accurately describes the TI Accused Products; denies that any of the TI Accused Products

  embodies or operates according to any claim of any Asserted Patent; denies that the exhibit

  demonstrates infringement of any Asserted Patent; and denies all allegations of patent

  infringement expressed or implied by the exhibit. TI lacks knowledge or information sufficient to

  admit or deny any remaining allegations expressed, implied, or incorporated by this paragraph

  and therefore denies them.

         208.    On information and belief, with knowledge of the ʼ800 patent, Ford has actively

  induced and continues to induce the direct infringement of one or more claims of the ʼ800 patent,

  including claim 10, in violation of 35 U.S.C. § 271(b), by its customers and/or end users of its

  products, including at least the Ford Accused Products, by selling, providing support for,

  providing instructions for use of, and/or otherwise encouraging its customers and/or end-users to

  directly infringe, either literally and/or under the doctrine of equivalents, one or more claims of

  the ʼ800 patent, including claim 10, with the intent to encourage those customers and/or end users

  to infringe the ʼ800 patent.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the




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  allegations contained in this paragraph and therefore denies them.

         209.    By way of example, on information and belief, Ford actively induces infringement

  of the ʼ800 patent by encouraging, instructing, and aiding one or more persons in the United States,

  including but not limited to customers and/or end users who test, operate, and use Ford’s products,

  including at least the Ford Accused Products, to make, use, sell, offer to sell, and/or import Ford’s

  products, including at least the Ford Accused Products, in a manner that infringes at least one

  claim of the ʼ800 patent, including claim 10. For example, as described above, Ford actively

  markets, advertises, offers for sale, and/or otherwise promotes the Ford Accused Products by

  publishing and distributing data sheets, manuals, and guides for the Ford Accused Products.

  Therein, on information and belief, Ford describes and touts the use of the subject matter claimed

  in the ʼ800 patent.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         210.    On information and belief, with knowledge of the ʼ800 patent, Ford also

  contributed to, and continues to contribute to, the infringement of one or more claims of the ʼ800

  patent, including claim 10, in violation of 35 U.S.C. § 271(c), by offering to sell, selling, and/or

  importing the Ford Accused Products, knowing them to be especially made or especially adapted

  for practicing the inventions of the ʼ800 patent and not a staple article or commodity of commerce

  suitable for substantial non-infringing use. This is evidenced by, among other things, the design,

  configuration, and functionality of the Ford Accused Products, which are especially made or

  especially adapted for use in infringement of the ʼ800 patent when used for their normal and




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  intended purpose. This is also evidenced by, among other things, Ford’s informational and

  promotional materials described above, which describe the normal use and intended purpose of

  the Ford Accused Products and demonstrate that the Ford Accused Products are especially made

  or especially adapted for a use that infringes the ʼ800 patent.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         211.    On information and belief, as a result of Ford’s inducement of, and/or contribution

  to, infringement, its customers and/or end users made, used, sold, offered for sale, or imported,

  and continue to make, use, sell, offer to sell, or import, Ford’s products, including the Ford

  Accused Products, in ways that directly infringe one or more claims of the ʼ800 patent, including

  claim 10. On information and belief, Ford had actual knowledge of its customers’ and/or end

  users’ direct infringement at least by virtue of their sales, instruction, and/or otherwise promotion

  of Ford’s products, including the Ford Accused Products, at least as of the dates of knowledge of

  the ʼ800 patent alleged above, and no later than the December 19, 2022 filing of NST’s Complaint.

  (Dkt 1.)

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         212.    On information and belief, with knowledge of the ʼ800 patent, Ford has willfully,

  deliberately, and intentionally infringed the ʼ800 patent, at least as of the dates of knowledge of




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  the ʼ800 patent alleged above, and no later than the December 19, 2022 filing of NST’s Complaint

  (Dkt. 1), and continues to willfully, deliberately, and intentionally infringe the ʼ800 patent. On

  information and belief, Ford had actual knowledge of the ʼ800 patent and Ford’s infringement of

  the ʼ800 patent at least as of the dates of knowledge of the ʼ800 patent alleged above, and no later

  than the December 19, 2022 filing of NST’s Complaint. (Dkt. 1.) On information and belief, after

  acquiring that knowledge, Ford continued to directly and indirectly infringe the ʼ800 patent as set

  forth above. On information and belief, Ford knew or should have known that its conduct

  amounted to infringement of the ʼ800 patent at least because Ford was aware of the ʼ800 patent

  and Ford’s infringement of the ʼ800 patent at least as of the dates of knowledge of the ʼ800 patent

  alleged above, and no later than the December 19, 2022 filing of NST’s Complaint. (Dkt. 1.) Ford

  was aware of its infringement by virtue of the ’800 patent’s fame in the semiconductor industry,

  Ford’s expertise in the subject matter of the ’800 patent, Ford’s technical competence to

  understand the scope of the ’800 patent, and Ford’s intimate familiarity with its Accused Products.

  Additionally, Ford was aware of the ʼ800 patent, and Ford’s infringement of the ʼ800 patent, at

  least as of the December 19, 2022 filing of NST Complaint (Dkt. 1) because Plaintiff notified

  Ford of such.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         213.     On information and belief, Ford will continue to infringe the ʼ800 patent unless

  and until it is enjoined by this Court. Ford, by way of its infringing activities, has caused and

  continues to cause Plaintiff to suffer damages in an amount to be determined, and has caused and




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  is causing Plaintiff irreparable harm. Plaintiff has no adequate remedy at law against Ford’s acts

  of infringement and, unless Ford is enjoined from its infringement of the ʼ800 patent, Plaintiff

  will continue to suffer irreparable harm.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

         214.    Plaintiff is entitled to recover from Ford damages at least in an amount adequate

  to compensate for its infringement of the ʼ800 patent, which amount has yet to be determined,

  together with interest and costs fixed by the Court.

         TI’s Response: The allegations in this paragraph are not directed to TI, and therefore no

  answer is required. Furthermore, Ford has been severed and stayed from this action. To the extent

  a response is required, TI lacks sufficient knowledge and information to admit or deny the

  allegations contained in this paragraph and therefore denies them.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff Network System Technologies, LLC requests that the Court enter

  judgment for Plaintiff and against Defendants TI and Ford and enter the following relief:

         A.      A judgment that Defendants infringe the following Asserted Patents:

                  U.S. Patent No. 7,366,818 (Exhibit 1, “’818 patent”)
                  U.S. Patent No. 7,373,449 (Exhibit 2, “’449 patent”)
                  U.S. Patent No. 7,594,052 (Exhibit 3, “’052 patent”)
                  U.S. Patent No. 7,769,893 (Exhibit 4, “’9893 patent”)
                  U.S. Patent No. 8,072,893 (Exhibit 5, “’2893 patent”)
                  U.S. Patent No. 8,086,800 (Exhibit 6, “’800 patent”)


         B.      A preliminary and permanent injunction restraining and enjoining Defendants,



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  their officers, partners, agents, servants, employees, parents, subsidiaries, divisions, affiliate

  corporations, joint ventures, other related business entities and all other persons acting in concert,

  participation, or in privity with them, and their successors and assigns, from infringing the

  Asserted Patents;

         C.      An award of damages to Plaintiff arising from Defendants’ past and continuing

  infringement up until the date Defendants are finally and permanently enjoined from further

  infringement, including compensatory damages;

         D.      A determination that Defendants’ infringement of the Asserted Patents has been

  willful, and an award of treble damages to Plaintiff pursuant to 35 U.S.C. § 284;

         E.      A determination that this is an exceptional case and awarding Plaintiff’s attorneys’

  fees pursuant to 35 U.S.C. § 285;

         F.      An order awarding Plaintiff costs and expenses in this action;

         G.      An order awarding Plaintiff pre- and post-judgment interest on its damages; and

         H.      Such other and further relief in law or in equity as this Court deems just and proper.

         TI’s Response: No response to the Prayer for Relief is necessary. To the extent a response

  is required, TI denies that NST is entitled to any of the requested relief against TI.


                                           JURY DEMAND

         Plaintiff respectfully requests a jury trial on all issues so triable.

         TI’s Response: No response to the Demand for Jury Trial is necessary.

                                               DEFENSES

         TI asserts the following defenses to NST’s claims without admitting or acknowledging that

  it bears the burden of proof as to any of the defenses asserted. TI reserves the right to amend its

  Answer to add additional defenses.


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                           FIRST DEFENSE: NON-INFRINGEMENT

         TI does not infringe and has never infringed any valid and enforceable claim of the ’818

  Patent, the ’449 Patent, the ’052 Patent, the ’9893 Patent, the ’2893 Patent, or the ’800 Patent

  (“Asserted Patents”), under any theory—directly, indirectly, jointly with any other person or

  entity, by inducement, contributorily, literally, under the doctrine of equivalents, or otherwise

  under any section of 35 U.S.C. § 271—and as such, is without any liability to NST.

                                SECOND DEFENSE: INVALIDITY

         Each of the claims of the Asserted Patents is invalid for failure to comply with the

  requirements of the patent laws of the United States, including provisions of 35 U.S.C. §§ 101,

  102, 103, and/or 112.

                       THIRD DEFENSE: LIMITATION ON DAMAGES

         Any recovery of damages by NST is limited in whole or in part by 35 U.S.C. §§ 252, 286,

  287, and/or 288.

    FOURTH DEFENSE: LIMITATION FOR SALES COVERED BY 28 U.S.C. § 1498(A)

         NST’s remedies are limited under 28 U.S.C. § 1498(a) for the TI accused products or

  services that are provided, made, or used by or for the government of the United States of America.

                                   FIFTH DEFENSE: LICENSE

         NST’s claims for patent infringement are precluded in whole or in part: (i) to the extent

  that any TI accused products are imported by, sold by or to, offered for sale by, made by, made

  for, or otherwise supplied (directly or indirectly) by or to any entity or entities having express or

  implied licenses to the Asserted Patents; (ii) under the doctrine of patent exhaustion; and/or (iii)

  any doctrine precluding double recovery for claims of infringement attributable to the same device.


            RESERVATION OF RIGHT TO ASSERT ADDITIONAL DEFENSES



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         TI has not knowingly or intentionally waived any applicable defenses, and it reserves the

  right to assert and rely upon other applicable defenses that may become available or apparent

  throughout the course of this action. TI reserves the right to amend, or seek to amend, its answer,

  including its affirmative and other defenses.


                                         COUNTERCLAIMS

         Pursuant to Federal Rule of Civil Procedure 13, Texas Instruments Incorporated (“TI”)

  counterclaims against Network System Technologies, LLC (“NST”) and, in support thereof,

  alleges the following:

                                               PARTIES

         1.      Counterclaim-Plaintiff TI is a Delaware corporation with a principal place of

  business at 12500 TI Boulevard, Dallas, TX 75243.

         2.      Upon information and belief, Counterclaim-Defendant NST is a limited liability

  company organized and existing under the laws of Texas, having its principal place of business at

  533 Congress Street, Portland, ME 04101.

                                   JURISDICTION AND VENUE

         3.      This is an action for declaratory judgment of invalidity of the ’818 Patent, the ’449

  Patent, the ’052 Patent, the ’9893 Patent, the ’2893 Patent, or the ’800 Patent (“Asserted Patents”).

  This Court has subject matter jurisdiction over this claim pursuant to 28 U.S.C. §§ 1331, 1338(a),

  2201, and 2202.

         4.      Venue is proper in the Eastern District of Texas, under 28 U.S.C. §§ 1391 and 1400,

  as a result of NST having filed this action in this District. By filing its Complaint in this District,

  NST has consented to personal jurisdiction and venue.




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                                           BACKGROUND

         5.      On December 19, 2022, NST filed suit against TI, claiming infringement of the

  ’818 Patent, the ’449 Patent, the ’052 Patent, the ’9893 Patent, the ’2893 Patent, or the ’800 Patent

  (“Asserted Patents”).

         6.      In its Complaint, NST alleges it is the owner of all substantial rights in the Asserted

  Patents, including the right to sue, and recover for past and future damages. Compl. (ECF No. 1)

  ¶ ¶ 20, 32, 44, 56, 68, 80.

         7.      An actual, substantial, and justiciable controversy, within the meaning of 28 U.S.C.

  §§ 2201 and 2202, exists between NST and TI concerning the non-infringement and invalidity of

  the Asserted Patents. This controversy is of sufficient immediacy and reality to warrant the

  issuance of a declaratory judgment.

                                            COUNT ONE

                  (Declaratory Judgment of Patent Invalidity of the ’818 Patent)

         8.      TI incorporates paragraphs 1–7 of its Counterclaims as if fully set forth herein.

         9.      The claims of the ’818 Patent are invalid for failure to comply with one or more

  requirements of patentability, including requirements under 35 U.S.C. §§ 101, 102, 103, and/or

  112.

         10.     TI is entitled to a declaratory judgment that the claims of the ’818 Patent are invalid.

                                            COUNT TWO

                  (Declaratory Judgment of Patent Invalidity of the ’449 Patent)

         11.     TI incorporates paragraphs 1–7 of its Counterclaims as if fully set forth herein.

         12.     The claims of the ’449 Patent are invalid for failure to comply with one or more

  requirements of patentability, including requirements under 35 U.S.C. §§ 101, 102, 103, and/or




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  112.

         13.    TI is entitled to a declaratory judgment that the claims of the’449 Patent are invalid.

                                         COUNT THREE

                (Declaratory Judgment of Patent Invalidity of the ’052 Patent)

         14.    TI incorporates paragraphs 1–7 of its Counterclaims as if fully set forth herein.

         15.    The claims of the ’052 Patent are invalid for failure to comply with one or more

  requirements of patentability, including requirements under 35 U.S.C. §§ 101, 102, 103, and/or

  112.

         16.    TI is entitled to a declaratory judgment that the claims of the’052 Patent are invalid.

                                          COUNT FOUR

                (Declaratory Judgment of Patent Invalidity of the ’9893 Patent)

         17.    TI incorporates paragraphs 1–7 of its Counterclaims as if fully set forth herein.

         18.    The claims of the ’9893 Patent are invalid for failure to comply with one or more

  requirements of patentability, including requirements under 35 U.S.C. §§ 101, 102, 103, and/or

  112.

         19.    TI is entitled to a declaratory judgment that the claims of the’9893 Patent are

  invalid.

                                           COUNT FIVE

                (Declaratory Judgment of Patent Invalidity of the ’2893 Patent)

         20.    TI incorporates paragraphs 1–7 of its Counterclaims as if fully set forth herein.

         21.    The claims of the ’2893 Patent are invalid for failure to comply with one or more

  requirements of patentability, including requirements under 35 U.S.C. §§ 101, 102, 103, and/or

  112.




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         22.       TI is entitled to a declaratory judgment that the claims of the’2893 Patent are

  invalid.

                                               COUNT SIX

                   (Declaratory Judgment of Patent Invalidity of the ’800 Patent)

         23.       TI incorporates paragraphs 1–7 of its Counterclaims as if fully set forth herein.

         24.       The claims of the ’800 Patent are invalid for failure to comply with one or more

  requirements of patentability, including requirements under 35 U.S.C. §§ 101, 102, 103, and/or

  112.

         25.       TI is entitled to a declaratory judgment that the claims of the’800 Patent are invalid.

                                     DEMAND FOR JURY TRIAL

         TI demands a jury trial on all issues that may be so tried.

                                        PRAYER FOR RELIEF

         For these reasons, TI respectfully requests that this Court enter judgment in its favor and

  grant the following relief:

         a.        Enter judgment that TI does not and has not infringed any valid and enforceable

  claim of the ’818 Patent, the ’449 Patent, the ’052 Patent, the ’9893 Patent, the ’2893 Patent, or

  the ’800 Patent under any theory—directly, indirectly, jointly with any other person or entity, by

  inducement, contributorily, literally, under the doctrine of equivalents, or otherwise under any

  section of 35 U.S.C. § 271;

         b.        Enter judgment and a declaration that the claims of the ’818 Patent, the ’449 Patent,

  the ’052 Patent, the ’9893 Patent, the ’2893 Patent, or the ’800 Patent are invalid and

  unenforceable;

         c.        Deny each request for relief made by NST;




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         d.        Enter an order declaring that this is an exceptional case and award TI its costs,

  expenses, and reasonable attorney fees under 35 U.S.C. § 285 and all other applicable statutes,

  rules, and common law;

         e.        Dismiss NST’s Complaint against TI with prejudice; and,

         f.        Any such other relief as the Court may deem appropriate and just under the

  circumstances.




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  DATED: October 24, 2023            Respectfully submitted,

                                     Amanda A. Abraham
                                     Robert T. Haslam (lead counsel)
                                     rhaslam@cov.com
                                     Anupam Sharma
                                     asharma@cov.com
                                     Hyun S. Byun
                                     hbyun@cov.com
                                     COVINGTON & BURLING LLP
                                     3000 El Camino Real
                                     5 Palo Alto Square
                                     Palo Alto, CA 94306-2112
                                     Telephone: (650) 632-4700
                                     Facsimile: (650) 632-4800

                                     Ranga Sudarshan
                                     rsudarshan@cov.com
                                     COVINGTON & BURLING LLP
                                     One City Center
                                     850 Tenth Street, NW
                                     Washington, DC 20001-4956
                                     Telephone: (202) 662-5346
                                     Facsimile: (202) 778-5346

                                     Udit Sood
                                     usood@cov.com
                                     COVINGTON & BURLING LLP
                                     Salesforce Tower
                                     415 Mission Street, Ste 5400
                                     San Francisco, CA 94111
                                     Telephone: 415-591-6000
                                     Facsimile: 415-591-6091
                                     Amanda A. Abraham
                                     Texas Bar No. 24055077
                                     Email: aa@rothfirm.com
                                     ROTH & ABRAHAM LAW FIRM
                                     115 North Wellington, Suite 200
                                     Marshall, Texas 75670
                                     Telephone: (903) 935-1665
                                     Facsimile: (903) 935-1797

                                     Wesley Hill
                                     Texas Bar No. 24032294
                                     Email: wh@wsfirm.com
                                     Andrea Fair



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                                               Texas Bar No. 24078488
                                               Email: andrea@wsfirm.com
                                               WARD, SMITH & HILL, PLLC
                                               1507 Bill Owens Parkway
                                               Longview, TX 75604
                                               Telephone: (903) 757-6400
                                               Facsimile: (903) 757-2323

                                               ATTORNEYS FOR DEFENDANT TEXAS
                                               INSTRUMENTS INCORPORATED



                                  CERTIFICATE OF SERVICE

          This is to certify that all counsel of record who are deemed to have consented to electronic

   service are being served with a copy of the foregoing document via the Court’s CM/ECF system

   per Local Rule CV-5(a)(3) on this 24th day of October, 2023.



                                               Amanda A. Abraham
                                               Amanda A. Abraham




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